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                EXHIBIT B
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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                  AMARILLO DIVISION


AMANDA OLESEN,                                  §
                                                §
         Plaintiff,                             §
                                                §
vs.                                             §
                                                §              CIVIL ACTION NO.
PRIME HEALTHCARE                                §
FOUNDATION, INC. d/b/a                          §              __________________________
PAMPA REGIONAL MEDICAL CENTER;                  §
and MARK S. HENDERSON, M.D.,                    §
                                                §
         Defendants.                            §

                                 STATE COURT DOCKET


EXHIBIT#          DATE         DESCRIPTION
                  FILED
B-1               02/24/17     Plaintiff’s Original Petition

B-2               02/24/17     Civil Cover Sheet

B-3               02/24/17     Request to Issue Citation for Mark S. Henderson, MD

B-4               02/24/17     Letter and Citation Issued for Mark S. Henderson, MD

B-5               03/15/17     Request to Issue Citation

B-6               03/16/17     Citation Issued for Mark S. Henderson, MD

B-7               03/21/17     Return of Citation Unserved for Mark S. Henderson, MD

B-8               04/05/17     Return of Service for Mark S. Henderson, MD

B-9               06/20/17     First Amended Petition

B-10              06/20/17     Request to Issue Citation for Prime Healthcare Foundation, Inc.

B-11              06/20/17     Letter and Citation Issued for Prime Healthcare Foundation, Inc.
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B-12           06/26/17   Return of Service for Prime Healthcare Foundation, Inc.

B-13           06/29/17   Defendant Mark S. Henderson, MD’s Original Answer and
                          Request for Disclosure

B-14           07/05/17   Defendant Prime Healthcare Foundation, Inc.’s Original Answer
                          and Request for Disclosure

B-15           07/07/17   Notice of Service of Plaintiff’s Chapter 74 Expert Report and
                          Curriculum Vitae of Jeff Durgin, M.D. FACS




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             EXHIBIT B-1
                                                                                 Filed 2/24/2017 8:58:42 AM
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                                                                                 Jo  MaysPageID 12
                                                                                 District Clerk
                                                                                 Gray County, Texas
                                      CAUSE NO.
                                                       38783                     Reviewed By: Dronda Kelsey


AMANOA OLESEN,                                   §        IN THE 223RD         JliSTRICT COURT
          PLAINTIFF,                             §
                                                 §
vs.                                              §        IN AND FOR
                                                 §
MARKS. HENDEU.SON, M.D.,                         §
          DI;:J?t;:NDANTS                        §        GRAY COUNTY, TEXAS

                              PLAINTIFF'S ORIGINAL PETITION

          COMES NOW,         AMANDA OLESEN,     hereinafter referred to as Plaintiff, complaining of

MARKS. HENDERSON, M.D. hereinafter sometimes referred to as Defendant and in support ofthis

cause of action would respectfully show unto this Honorable Court and Jury as follows:

                                                  I.
                           DISCOVERY LEVEL ELECTION AND
                        REQUEST FOR DISCOVERY CONTROL PLAI\!

          1.01 Pursuant to TEX. R. Crv. P. 190, Plaintiff requests that discovery be conducted under

Level3,   TEX.   R. Civ. P 109.4. Further, Plaintiff moves tor an Order that discovery be conducted

in accordance with a discovery control plan tailored to the circumstances of this specific case,

pursuant to Rule 190.4(a).

                                             II.
                                             ~

          2.02 PlaintifT,   AMANDA OLESEN     is a resident citizen of Pampa, Gray County, Texas.

The last four digits ofher social security number arc 4911.

          2.03 Defendant, MARK S. HENDERSON, MD is a licensed Texas physician. This

Defendant may be served with citation at his place of business, Pampa Medical Group- Surgery,

3023 Perryton Parkway, Suite 101, Pampa, Texas 79065.




l,laintiff's Original I)ctition
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                                            lH.
                                     METHOD OF SERVICE

         3.04 Plaintiff requests that the Gray County District Clerk issue citation and serve the

Defendant with citation along with a copy of the Petition by certified mail - returned receipt

requested.

                                              IV.
                                         JURISDICTION

         4.05 The Court has jurisdiction over Defendants, because the Defendants' principle

place of business is in Texas. The Court has jurisdiction over the controversy because the damages

are within the jurisdictional limits of this Court. Plaintiff seeks damages in excess of

$1,000,000.00.

                                                V.
                                              VENUE

         5.06 All or part of Plaintiff's causes of action arose in Pampa, Gray County, Texas.

                                       VI.
                      NOTICE OF HEAL THCARE LIAIULITY CLAIM

         6.07 Sixty (60) days prior to filing of this suit, Plaintiff gave written notice of her

claims to the Defendant as required by TEXAS CIVIL PRACTICE AND RKMEDIES CODE§ 74.051.

Sec, Exhibit "A" attached.


         6.08 Plaintiff will show that, at all times relevant and material hereto, Defendant, MARK

S. HENDERSON, MD, was a licensed Texas physician and retained authority to dictate the manner

in which he provided care and/or surgical services at Pampa Regional Medical Center to Plaintiff.




l)laintiff's Ol'iginal Petition                                                           Page2 of8
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                                          VII.
                                 FACTS AND ALLEGATIONS

           7.09 Plaintiff is a 26 year old temale who was seen in the Pampa Regional Medical

Center Emergency Department on November 3, 2015 with the complaint ofLLQ pain for 3 days.

The patient was evaluated by Dr. Donald Hubbard who noted moderate RLQ pain on exam. He

ordered a CT scan of the abdomen/pelvis which shows acute appendicitis. The patient was

admitted to the hospital by Defendant, MARKS. HENDERSON, MD.

           7.10 Defendant, MARKS. HENDERSON, MD took Plaintiff to the operating room for a

laparoscopic appendectomy. The operative report reveals that she received preoperative Zosyn and

that the laparoscopic appendectomy was completed without complication.

           7.11   Postoperatively, Plaintiff had persistent fever which was documented in

Defendant's progress note to be as high as 104 degrees Fahrenheit on the morning of November

4, 2015.

           7.12 A repeat CT scan of the abdomen and pelvis was ordered and completed November

4, 2015 at 1832. The CT repm1 mentions "fluid-filled tubular structure 1.0 em in diameter" in the

right lower quadrant. The report conclusion was as follows: "1 Postsurgical changes 2. Question

of incomplete appendiceal resection. 3. Left external oblique hematoma."

           7.13 The "Gross Description" section of the pathology report from the November 3,

2015 surgery by Defendant was reported as follows: "The specimen is received in formalin labeled

'Appendix' and consists of a 3.5 x 2.0 x 0.9 em, irregular appendix with up to 1.0 em of attached

mesoappendix. Two staple lines are identified. No obvious appendix tip is identi11ed."

           7.14 The discharge summary from the hospital shows the date of admission to be

November 3, 2015 and the date of discharge November 7, 2015. The document summarized

Plaintiff's hospital course as follows: "The patient was seen in the emergency room by MARKS.


Plaintiff's 0J"iginal Petition                                                       Page3 of8
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HENDERSON, MD. Plaintiff was taken to the operating room and underwent laparoscopic

appendectomy without complications. Postoperatively she developed postoperative abscess. At the

discharge, the patient has been tolerating p.o. well and normal bowel function. No evidence of

peri to neal signs."

         7.15 Plaintiff then presented on November 9, 2015 to the BSA Health System emergency

room in Amarillo, Texas "complaining of chronic pain in the lower abdomen, not feeling well,

fevers off and on and has a history of having laparoscopic appendectomy done in Pampa some 8

to 9 days ago." The admission History and Physical by Dr. Victor Hand reflects that, "the patient

had a diagnosis of appendicitis proved by CT scan in Pampa, was taken to the operating room by

the Pampa surgeon who performed a laparoscopic appendectomy, removed the appendix from the

cecum but only took a small segment or at least part of the proximal appendix but left the distal

appendix in the patient and even afterwards he knew he did this and even afterwards the follow-

up CT showed the staple line across the base of the cecum and the distal appendix still in the

patient. The patient was told that it [it] would heal with antibiotics and she was in the hospital for

5 or 6 days getting antibiotics and then she went with Levaquin and Flagyl and was told it would

be better. She says today when she saw her surgeon he told her it was going to get better and that

she was already in the mend and was doing well. The patient says she felt miserable, was still

hm1ing and she came to BSA emergency room."

         7.16 The Plaintiff was admitted November 9, 2015 by Dr. Hand with the diagnoses of:

1. Retained distal appendix after appendectomy approximately 8 days ago. 2. Patient with history

of appendicitis with the appendix removed from the cecum laparoscopically but the distal segment

ofthe appendix was ]eft in the patient.




Plaintiff's Original Petition                                                            Page 4 of8
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         7.17 Dr. Hand's History & Physical documents that he reviewed the films with the

radiologist. He mentions a "small fluid collection and air pocket next to it," which was felt to

possibly represent a small abscess.

         7.18 On November 10, 2015, Plaintiff underwent Iaparoscopic removal of "what

appeared to be a majority of the appendix" and drainage of ''the abscessed cavity around the

appendix." Dr. Hand left two drains in the right pelvis after copious irrigation of the abscess cavity.

         7.19 The pathology report from Baptist St. Anthony's Health showed "Acute necrotizing

appendicitis and acute periappendicitis with features consistent with perforation and abscess

formation." The Gross Description of the specimen showed "a 7.0 x 1.0 x 0.7 em, ruptured

vermiform appendix."

        7.20 Also on November 10,2015, Plaintiff had a PICC line placed tor IV access and for

anticipated need Jor long term JV antibiotics.

        7.21    Dr. Hand requested an Infectious Disease consult and Plaintiti was evaluated by

Dr. Pablo Rodriguez. Dr. Rodriguez documents that the cultures showed a polymircobial process

including gram-negative rods and gram-positive cocci. Dr. Rodriguez recommended at 2-3 week

course of antibiotic therapy.

        7.22 Plaintiffwas discharged November 15, 2015 after having her drains removed. She

was prescribed a course oflV Invanz through December 7, 2015.

                                    VIII.
               NEGLIGENCE OF DEFENDANT MARKS.                    HEND~RSO"N 1 M.D.


        8.23 The standard of care in Texas required proper pre-procedure evaluation, informed

consent regarding the risks, benefits, and possible complications of the surgery, appropriate

procedural technique, and prudent judgment with regard to decision making. The standard of care

also required careful post-procedure evaluation, assessing patients for complications, and

Plaintiff's OriginalJ>ctition                                                             Page 5 of8
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arranging appropriate follow-up.

         8.24 Defendant, MARK S. HENDERSON, MD breached the standard of care by

improperly performing laparoscopic appendectomy and removing only a portion of Plaintiff's

appendix. Defendant, MARKS. HENDElt,'iON, MD breached the standard of care by failing to

remove the retained portion of Plaintiff's appendix once the condition was recognized by

pathology, CT scan and patient's condition. Defendant, MARKS. HENDERSON, MD breached the

standard of care by discharging the patient on oral antibiotics and allowing her condition to

progress to necrotizing appendicitis with perforation and peri-appendiceal abscess. Defendant,

MARKS. HENDERSON, MD breached the standard of care by failing to address the patient's signs

and symptoms upon follow-up.

        8.25 In this case, the standard of care required that Defendant, MARKS. HENmmsoN,

MD correctly perform laparoscopic appendectomy and remove the entire appendix. The standard

of care required that upon recognizing the majority of the appendix had not been removed, that

Defendant, MARKS. HENDERSON, MD perform completion appendectomy to remove the infected

appendiceal remnant. The standard of care required that Defendant, MARKS. HENDERSON, MD

not ignore the pathology, CT scan, and Plaintiff's symptoms thus allowing her condition to

progress to necrotizing appendicitis with perforation and peri-appendiceal abscess.

        8.26 Defendants, acting individually and/or by and through its employee, violated the

standards of care and duties owed to Plaintiff to exorcise ordinary care and diligence exercised by

other hospitals/physicians in the same or similar circumstances, and were negligent in numerous

respects, including but not limited to the following:

            a) Failure to properly perform laparoscopic appendectomy;

            b) Failure to remove the appendix during laparoscopic appendectomy;



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             c) Failure to re-operate to remove the infected appendiceal remnant after
                 identification of partial resection; and

             d) Failure to properly treat the patient's appendicitis, thus allowing her condition to
                 progress to necrotizing appendicitis with preformation and peri-appendiceal
                 abscess.

         8.27 Each oftoregoing acts and/or omissions, separately and/or collectively, constituted

negligence which proximately caused Plaintiff's injtu'ies and damages herein described.

         8.28 Furthermore, Plaintiff will show that the acts and omissions of the Defendant, as

described above, were carried out with heedless and reckless disregard for the safety and welfare

of plaintiff, and such disregard was a result of willful and wanton behavior and conscious

indifference. The Defendant's conduct constituted gross negligence and Plaintiff seeks punitive

damages.

         8.29    Each and all of the foregoing acts and/or omissions of the Defendants, taken

separately and/or collectively, constitutes a direct and proximate cause of injuries and damages to

Plaintiff, as set forth below.

                                                 IX.
                                  DAMAGES 01? PLAINTIFF

         9.30   As a direct and proximate result of the negligence of the Defendant, Plaintiff has

suffered substantial injuries and the following damages, the value of which far exceeds the

minimum jurisdictional limits of this court:

                1.    Pain and Suffering past and future
                2.    Mental Anguish ()ast and future
                3.    Physical Impairment past and future
                4.    Medical Charges past and future
                S.    Disfigurement past and futu1·e
                6.    Lost wages
                7.    Loss of earning capacity
                8.    Exemplary damages
                9.    Pre-judgement and Post-Judgement Interest
                10.   Court Costs

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                                                X.
                                     DEMANDFORJURY

         10.31 Plaintiff respectively requests a trial by jury and tenders her jury fee concurrently

with filing of this action.

                                              XI.
                                            PRAYJ.ll!

         11.32 Plaintiff prays that the Defendant be cited to appear and answer herein, that upon

final trial hereof: Plaintiff have judgement against the Defendant for the full amount of her

damages as herein alleged, pre-judgement interest and    post~judgement   interest at the legal rate,

costs of Court, exemplary damages, and such other further relief to which she may show herself

to be justly entitled.

                                              Respectfully submitted,

                                              QUACKENBUSH LAW FIRM



                                              Jesse uackenbush
                                              Texas State Bar No. 16421975
                                              801 S. Fillmore~ Suite 460
                                              Amarillo, Texas 79101
                                              Phone:        (806) 374-4024
                                              Facsimile:    (806) 352H0073
                                              E-Mail:       ~!!~$!KQ!~P@GM11t1.!~QM

                                              ATTORNEY FOR PLAINTIFF




Plaintifrs Original Petition                                                            l)age 8 of8
                     Case 2:17-cv-00128-M Document 1-2 Filed 07/19/17                    Page 13 of 102 PageID 20




                                                       November 21,2016
                                                                                                 EXHIBIT
                                                                                                   A
            YLalGMR!~U1~1l5 ~szo Q!ill!J!i;!Jl2~Q.!
            Mark S. Henderson
            Pampa Medical Group-SURG
            3023 Perryton Parkway, Suite J01
            Pampa, Texas 79065




                     Re: Amanda Olesen
                     Date oflncident: November 2015

            Dear Doctor Henderson:

                   I have been consulted by Amanda Olesen for the purpose of pmsuing a healthcarc 1iabiliiy
            claim against ])r. M~llll"lk S. l:O:el!lideJt~oJ!1l, arising from your care and treatment of her in November
            2015 at Pampa Regional Medical Center.

                    On the basis of the information furnished to me by my client and my investigation and
            research, I have determined that there arc more than reasonable grounds to believe that the above-
            named client has a viable hcalthcare liability claim against yol!ll alllltd!/l{)n· yomr, agents, officers,
            servants, ostensible agents, employees, corporation, partnership, professional association, other
            associated entity, nurses and surgical technicians. The basis of this claim is that all or part of
            Amanda Olesen's appendix was not removed during her appendectomy surgery at Pampa Regional
            Medical Center, which you perf(mned. This failure resulted in infection and an additional surgery
            which was performed at BSA hospital in Amarmo, Texas.

                     J:JI{)ttii~e: Pursuant to Texas Civil Practice and Remedies Code §74.051, notice is hereby given
           to llJL Mnrlk S. Hell1ldleJrsmR, its agents, oilicers, servants, ostensible agents, employees, corporation,
           partnership, professional association, or other associated entities.

                   Enclosed is a signed Authorization Form for Release of Protected Health Information
           provided to you pursuant to Tex. Civ. Prac. Rem. Code §74.052 as well as ai-HPPA authorization for
           the release of the records and information.

                    Pursuant to Section 241.1 03(c) of the Texas Health and Safety Code and Ortega v. Trevino,
           MD., 938 S.W.2d 219 (Tex. App.--Corpus Christi Jan. 30, 1997, n.w.h.) regarding spoliation of
           evidence, 1 request that the complete file and/or chart and all of its contents including the entire
           medical and billing records, photographs, memoranda, correspondence, phone notes, imaging
           studies, radiology studies, x~rays, tissue specimens, biopsy specimens, and other diagnostic testing
           materials of Amanda Olesen, be maintained in their original condition.


,JUNG ADDRESS:                                     801 S. Fillmore, Suite 460                            AMARILLO, 'fEXAS     '79101
'6) 37~·-.!.1-02~·                                                                                            F1\X   (806) 352--0073
         Case 2:17-cv-00128-M Document 1-2 Filed 07/19/17                                              Page 14 of 102 PageID 21
.Dr. MarkS. Henderson
November 21, 2016
Pagc2


         I recommend that you send copies of !his letter, to your protcssional liability insurance
carrier, asking them to contact me as soon as possible. Under no circumstances do we wish to
institute or prosecute an unhnmdcd or unnecessary medical negligence claim. We have reached the
conclusions stated above after reviewing the records and after having had a healtheare provider
review these records and give us a preliminary opinion. This opinion is based upon the facts as
outlined in the medical records, and any t~1cts or circumstances not reflected in those records would,
as a consequence, not be considered at this time. Therefore, if you are· aware of other facts that
would shed additional light on the care of the patient, please advise us through your attorney or
liability insurance carrier.

         I look forward to hearing from you, your attorney or your liability insurance carrier in the
vc:.ry near future.

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                                                                                       >::
                                                                      Jesse Quackenbush,
                                                                      Attorney




JQ/ebw

Enclosure: Ch. 74 Medical Authorization

cc:      Amanda Olesen
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         A. I, AMANUA OL~DS]~N_ hereby authorize QJJA.f~~HJ:I~Ifll!1~lBJ lLJ\.Yf :[{:[R~ to obtain
and disclose (within the parameters set out below) the protected hcalrh information desenbed below
for the fr)Uowing specific purposes:

    1. To facilitate the investigation and evaluation of the heahh care claim described in the
accompanying Notice ofHcalth Care Claim; or

   2. Defense of any litigation arising out ofthc claim made basis of the accompanying Notice of
Health Care Claim.

         UJ\" The health inf~muation to be ohtainecl, used, or disclosed extends to and includes the
verbal as well as the wri1ten and is specifically described as follows:

    3. The health information in the custody of the following physicians or health care providers
who have examined, ev<Jluated or treated .&M~Nl»=~ (tU(§[iJ''\f )n connection with the injuries
alleged to have been sustained in con11cction with the claim asserted in the accompanying Notice
ofHcalth Care Claim:

    o    Any and all physicians and Hcalthcarc Providers at P6:Mf'l:tR1i~)JQJ'{6LMTmt<;;~6..L
         CE.t:Lt:JJR,J . MiiDIC~!JLPI!l\LA,YAMPA_,J1D(AS__ 72QE5.
    o    Any and all physicians and Hcahhcarc Providers at      J)(\,)Ylj\l\.J~Jl!~NDJi.R.SQN,__JQ2J_
         PJ:W..RYIQN__l~f\RK.:WA._Y,)ilD.IEJQ1 ,_PL\_MI)f\,JJiXt10_ 7.909~
    o    Any and all physicians and Healihcarc Providers at       H.S.t\,_]_6_Q_Q   Wl~LI!A.CBJ?L\1]),
         AJ\1~RlU,Q_,_'J):}XAS_79_LO]_._
Tbis authorization shall extend to any additional physicians or health care providers that may in the
futnrc evaluate, examine, or treat £l,.MA NUJ>A OLllGSJKN for injuries alleged in connection with the
daim made the basis of the attached Notice ofiJealth Care Claim;

    4. The hc<Jlth information in the custody of the following physicians or health care providers
who have examined, evaluated or treated~~~~~ O!J~§Eri~duriug a period commencing five
years prior to the incident made the basis of the accompanying Notice of Heath Care Claim are:

    o    Any and all physicians and Health care Providers at J)f\.J\IfP AJ~g(]_lQN.AJ!..Ml-il2JCAJce
         ~liN'TEILlMEl21CALYLAZA_,J:AMEA,_I!~X/~$_790()).




    0    Any and all physicians and Healthcare Providers at HS!\,_l@JLWALL6..Gl~               nLYD,
         AM6.JiJLJ"'Q,JJ~XAQ_79123,

    o    Any and all physicians and HeaHhcare Providers a1
      Case 2:17-cv-00128-M Document 1-2 Filed 07/19/17                                    Page 16 of 102 PageID 23


C" Excluded Heath Intormatiou--~thc following constitutes a list of physicians or health cme
providers possessing health care information concerning AI'\IllAJiDA OJL1le§lli~N _to which this
authorization docs not apply becanse I contend that such health care information is not relevant to
the dmnages being claimed or the physical, mentnl, or emotional condition of A MANIDA OLESEN
arising out of the claim made the basis of the accompanying Notice of Health Care Claim: Nmare

         ])" 1'hc persons or class of persons to whom the health inl~mnation of ~~I:Jli)A~JKB:
will be di!iclosed or who will make use of said information are:

          l.   Any and all physicians or health care providers providing care or lTeatmcnt to
               AMANID-4~;

         2. Any liability insurance entity providing liability insurance coverage or defense to ilny
physician or health care provider to whom Notice of J{call 11 Care Claim has been given with reganl
to the care and trealmcnt ofAh1!AN[liA_~~U~~_!i]i~N;

        3. Any consulting or testifying experts employed by or on behalf of ________________ _
. _ _ _ __ ................. __ --·--~ __ ___ ___ _____ ___ _ _ ____________ _ ___ -~-------- ___with regard   to   the
matter set out in the Notice of Ilcalth (;arc Claim accompanying this authorization;

          4. Any attorneys (including secretarial, clerical or paralegal staf1) employed by or on behalf




        5. Any trier of the Jaw or facts relating to any suit filed seeking damages arising ouL of the
medical care or treatment of__                  . ______ ___ _ ______ __ _ ___ _ .. ______

    m:. This authorization shall expire upon resolution of the claim asserted or at the conclusion of
any litigation instituted in connection with the subject maitcr of the Notiuc of Health Care Claim
accompanying this authorization, whichever occurs sooner.

     ll:i'. J understand that, without exception, I have the right to revoke this authorization in writing.
1 further understand the consequence of any such revocation as set out in Section 74.052, Civil
Practice and R3erncdics Code.

   Go I understand that the signing ofthis authorization is not a condition for continued treatment,
payment, enrollment, eligibility for health plan benefits.

    lHL I understand that infi:mnatiou used or disclosed pursuant to this authorization may be subject
to redisclosurc by the recipient and may no longer be protected by federal HIPPA privacy
regulations.
             Case 2:17-cv-00128-M Document 1-2 Filed 07/19/17             Page 17 of 102 PageID 24


,§iignature ofl"atient.> .,
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'""/:z·~?/~'::-:~:::-:_:~~~:1~:~"(~~::.!:.··=~~~~::: -·- -~· ~. ~~- ~~­
P'rintet!Nmmu'.:          AmmrH~.Ill Olles.clrl!


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l!J!ruff.c
        Case 2:17-cv-00128-M Document 1-2 Filed 07/19/17                                         Page 18 of 102 PageID 25




         Ao I, AMAN])!A OLHi:§JfsN hereby aulhorizc RUt MA!Rll( ll!KNWl>RRSON to obtain and
disclose (wifh-in the parameters set out below) fhe prot6Gi(:d hearili-~on (fcs~crlbccl below for
the J(J!lowing specific purposes:

    1_ 'fo facilitate ihe investigation and evaluation of the health c<'!re claim described in the
accompanying Notice oflkalth Care Claim; or

   2, Defense of any litigation arising out of the claim made basis of the accompanying Notice of
Health Care Claim.

         m. The health iJLformation to be obtained, used, or disclosed extends to and includes the
verbal as well as the written and is specifically described as f(}llows:

     3. The health infunnatio.n in the custody of the J(>llowiug physicians or health care providers
who have cxam]ncd, evaluated or treated b..I\114_J11QA_____J_J!l,~~~N )n connection with the injmics
alleged to have been sustained in connection with the claim asscJtcd in the accompanying Notice
of llcalth Care Claim:

    o    Any and all physicians and Hcalthcarc Providers at                       ff\_M.PA.J\hCrlQN£\J~          M13l2lCAL
         \l{N'JTm~ 1     MEDl(A),J)LA?A, P/\l\1P}\__, ,:I:E)\ 1~0_}9()6.5.



    0    Any and all physicians and Bcalthcarc Providers at                        BSI\, l6QfLW!\JA"AGJ!.,JJ1YQ,
        AMAETLLQ,_IFXAS 121 QJ ·'·


This authorization shall extend to any additional pbysicians or health care providers that may in the
future evaluate, exitinine, o~· lreat b-M.ANJ!)J_t\ OJU~§]<;N_for injuries alleged in connection with the
claim made the basis oftlw attached Notice of Health Care Claim;

    4. 'l'he health information in the custody of the following physicians or health care prov idcrs
who have examined, evaluated or tTcatccl h-.MAl:i]!~ fp[_,JJe§Jl(l\f during a period cornmencing five
years prior to the incident made the basis of the accompanying Notice of Heath Care Claim arc:




    o   Any and all physicians and I-Icalthcarc Providers at UE, MAB-K HENDEI\0QN,__j__()2~
        PEEJZYTQH I)1\RKWAY, ST)JJI~.J O.t,PAMI'lLIEXASZ2Q§_2_
    0   Any and all physicians and Hcalthcarc Providers at                         n~~A-,   .L§QQ__W.AJ)"AGI;"~___BL~YQ,
        1\MARIU.D., J1~_X!\072JQ_3,
    0   Any and all physicians and Healtllcare Providers at _---------·----------··--- ·--·-··-------·-----·----·-·---···-------



C. Excluded Heath lnfurmatioll-thc following constitutes a list of physicians or health care
          Case 2:17-cv-00128-M Document 1-2 Filed 07/19/17                               Page 19 of 102 PageID 26


providers possessing health care information concerning A MAN_[]) A OJL]I:§EN lo which this
authorization docs not apply because I contend that such health care information is not relevant to
the damages being claimed or the physical, mental, or emotional condition of AMANDA
OJI,J!D§]i:N arising out of the claim made the basis of the accompanying Notice of Health Care
Claim: N11me

                   Ill. The persons or class ofpcr:;ons to whom the health information of AM A!'fll.JlA Ql,_fi1~SJK.N
will be disclosed or who will make use of said information arc:

                   ] _ Any and all physicians or health care providers providing care or treatment to
                       AMANUJlA OlfJB:§]~I:J:;

         2. Any liability insurance entity providing liability insurance coverage or defense to any
physician or health care provider to whom Notice ofilcaHh Care Claim has been given with regard
to the care and treatment of._A~~J="''J~b-~i!~lP~fi!~~;

          3. Any consulting or testifying experts employed by or on behalf of~ -~··· ------------~ ____ _
       ____   _ _---.------······ _ ____ _ ___ __ __ __ _ __ _ . __________ _ ___with regard to                  the
matter sci out in the Notice of Health Care Claim accompanying this authorization;

               4. Any attorneys (including secretarial, clerical or paralegal staff) employed by or on behalf
of
 -----.. . . . .
          -~=~-~~:~:            _ -- _
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                                                            ~-:~:with-rcga-1'(1 1:()-ihe n1attc1· set out
in the Notice o[HcaHh Care Claim acccnnp;wying this authorization;

               5, Any trier ofthc law or i~lct:s relating to any suit filed seeking damages arising out of the
medical care or treatment of _______ _

    JB~. TJ1is authorization shall expire upon resolution ofthc claim asserted or at the conclusion of
any litigation instituted iu connection with the subject matter of the Notice of Health Care Claim
accompanying this authorization, whichever occurs sooner.

    :F. I understand that, without exception, Jhave the right to revoke this authorization in writing.
I further understand the consequence of any such revocation as set out in Section 74.052, Civil
Practice and R3cmcdies Code.

   {;"I understand that the signing of this authorization is not a condition for continued treatment,
payment, enrollment, eligibility for health plan benefits.

    ]]L I understand that inf()nnation used or disclosed pursuant to this authorization may be subject
to rcdisdosure by the recipient and may no longer be protected by federal HIPP A privacy
regulations.




Siguatltte of Patient:
    Case 2:17-cv-00128-M Document 1-2 Filed 07/19/17   Page 20 of 102 PageID 27




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Case 2:17-cv-00128-M Document 1-2 Filed ['_j
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                       !C"l Print your name and address on the reverse
                            so that we can return the card to you,                                  ·
                       llil Attacl1 this card to the back of the mailpiece,
                            or on the front if
                         • Article Addressed to;                                                                   D. Is delivery address different from item 1?
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Case 2:17-cv-00128-M Document 1-2 Filed 07/19/17   Page 22 of 102 PageID 29




              EXHIBIT B-2
                                                                                                                                                                         Filed 2/24/2017 8:58:42 AM
                                                                                                                                                                         Jo Mays
                                                     CIVIL CASE INFORMATION SHEET                                                                                        District Clerk
                              Case 2:17-cv-00128-M Document
                                                    38783 1-2 Filed 07/19/17 Page 23                                                                                    of 102County,
                                                                                                                                                                         Gray     PageID   30
                                                                                                                                                                                        Texas
                     CAliSE         NUM JWR (FOR CfERK u.w,· ONLY}:                                                             COllllT (FOR CLHR K USH ONIJ'):                             223RD
                                                   ~.                                                            r"~                                -·~             c::    Rev1ewed By: Dr~~da Kelsey
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                                                         Snu!h v. All Amcncanlnsurnncc { o; ln ro Mary Ann Jones; In the Mntlcr of the Estate of George Jackson) -_('1\. ,:-::;,
   A civil case infonnntion sheet must be completed <md suhmiUcd when an original petition or application is filed to initiate a new civil, family law, probate, or meiltal
   he11lth case or when a post-judgment petition for modification or motion for enforcement is filed in a family law case. The information should be the best available at
   the time of til in g.
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  Name:                                                  Email:                                   Plainliff(s)/Pctilioner(s):                                        0Pro Se Plaintiff/Petitioner
                                                                                                                                                                     OTitic JV-D Agency
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  Address;                                               Telephone•
                                                                                                                                                                    Additional Parties in Child Support Case:
   80 I S. Fillmore, Stc 460                             806-374A024
                                                                                                  Defendant(s)/Rcspondcnt(s):                                       Custodial Parent:
  City/State/Zip:                                        Fax:

  Amarillo, Texas 79101                                  806-352-0073
  ~--------- ·-------~-




                                                                                                                                                                    Presumed Father:

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  Foreclosure
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       Other Foreclosure
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  0 Landlordfrcmmt                                 0Premises
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  ON on-Competition                                Product Liability                     0Judgmcnt Nisi                                  Judgment                                       Termination
  0Partncrship                                       0 AsbestosiS i Iica                 0Non-Disclosme                               OIIabcas Corpus                                 0Child Protection
  OOther Contract:                                   OOther Product Liability            0Seizure/Forfciture                          0Namc Change                                    0Child Support
                                                        List Product:                   0Writ of I !abeas Corpus-··                   0Protective Order                               0Custody or Visitation
                                                                                              Pre-indictment                          0Removal of Disabilities                        0Gestationall'arenting
                                                   OOther Injury or r)~;;;;g:~          OOther: -~~----                                  of Minority                                  0Grandpment Access
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                   }:mplo,·rucnt                                                                                                                                                        Rights
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  0Discrimination                                   0Administrative Appeal               0Lawyer Discipline
  0Rctalialion                                      0Antitnmt/Unfair                     0Perpetnatc Testimony
  0Termination                                        Competition                        Osccurities/Stock
  0Workcrs' Co1npcns<ttion                          0Codc Violations                     0Tortious Interference
  OOthcr Fmploymcnt                                 0Foreign Judgment                    OOthcr:
                                                    Olntcllcctuall'roperty


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 0Tax Appraisal                 Ptobatei!Vi/lsllmestale Administration
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    0Tax Delinquency                                    0Dcpcndcnt Administration                                               0Guardianship-Minor
    Oother Tax                                          0Indcpendcnt Administration                                             OMental! Iealth
                                                        OOther Estate Proceedings                                               OOther: - - - - - · -
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 . 3.• In~li~~ltc procedure or t~riu,;_!IXLii~tlicablc (may seiect mor~; tlian i):
     0Appe;rl j)·om Municipal or Justice Coun                   0Dcclmatory Judgment                                                                 0Prcjudgment Remedy
     0Arbitnltio,Hclatcd                                        0Garnishmcnt                                                                         0Protcctive Order
     OA!tachment                                                Ornterpleadcr                                                                        0Reccivcr
    OBi II of Review                                            OLiconse                                                                             0Sequestration
    Occniorari                                                  0Mandamus                                                                            0Temporary Restraining Order/Injunction
    0Class Action                                               OPosHudgment                                                                         0Turnover
 4;. Jit!licatc daniagcs so11ght (iio Mi seierlifit is fl}iut!lly law c:_i}_se}:                                                                          ~·"'"·~--'-~~~-"--"""--__.....~
   0Less than $100,000, including damages of any kind, penalties, costs, expenses, pre-judgment interest, and attomcy fees                                                                                  __c...c_~~-'---U
   0Lcss than $100,000 and non-moneta1y relief
   Dover $100,000 but not moro than $200,000
   Dover $200,000 but not more than $1,000,000
  '~>ver $1,000,000
                                                                                                                                                                                                              Rev 7./13
Case 2:17-cv-00128-M Document 1-2 Filed 07/19/17   Page 24 of 102 PageID 31




              EXHIBIT B-3
                                                                                                         Filed 2/24/2017 8:58:42 AM
                 Case 2:17-cv-00128-M Document 1-2 Filed 07/19/17                         Page 25 ofJo102
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                                         ]~!K~~IUE~JL.~1~Bl~J;JJL~l~L~!~                                 District Clerk
                                                                                                         Gray County, Texas
C AQJ SlE N [J1\1lJBlfCU:«:         38783                                                                Reviewed By: Dronda Kelsey

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MAILING ADDRESS: __     ff_Q_L~-~---_E\j LmoYf'.,c~~!Aitf. __f{lQ_Q ..... - c-c--------·--c·           --------- --


PHONE NUMBER:       L'iO.te_\_ 1Jl1:_,i_O_'f~!:t_ __   FAx NUMBER:    _(3o~i}_ _ -&e ~L -.r;:p__T'Q _ ---~---

EMAIL ADDJ(ESS: __ ) _ _f$_~·s: ft_l f@0ffi(.A._t\     · CQY!]_   ____
Case 2:17-cv-00128-M Document 1-2 Filed 07/19/17   Page 26 of 102 PageID 33




              EXHIBIT B-4
          Case 2:17-cv-00128-M Document 1-2 Filed 07/19/17              Page 27••of 102 PageID 34
                                               JO MAYS
                                            DISTRICT CLERK
                                             GRAY COUNTY
                                             P.O. BOX 1139
                                          PAMPA, TX 79066-1139
                                              806 669-8010                                  ,.



                                              February 24, 2017
MARKS. HENDERSON, MD
3023 PERRYTON PARKWAY, SUITE 101
PAMPA, TX 79065
                                                      Re:     Cause:38783
                                                              AMANDA OLESEN
                                                              VS.
                                                              HENDERSON, MARKS., MD


CERTIFIED MAIL

Dear Dr. Mark S. Henderson:

You are hereby served with the enclosed Citation by Certified Mail.



                                                        Sincerely,




                                                        Jo Mays
                                                        District Clerk
                                                        223RD DISTRICT COURT


                                                        By    WoncLcd~
                                                             DRONDA KELSEY, DEPUTY


Enclosure
Certified Receipt Number: 7014 2120 0000 2068 4500
           Case 2:17-cv-00128-M Document 1-2 Filed 07/19/17 Page 28 of 102 PageID 35
                                                                                                  •                   ,      rr,




 THE STATE OF TEXAS:
                             CITATION- personal service- TRC 99~-

                                                                     Cause No: 38783
                                                                                                      copy
 AMANDA OLESEN                                                       IN THE 223RD DISTRICT COURT
 vs.                                                                 OF GRAY COUNTY, TEXAS
 HENDERSON, MARKS., MD


TO: MARKS. HENDERSON, MD, 3023 PERRYTON PARKWAY, SUITE 101, PAMPA, TX 79065, Defendant-
GREETING
NOTICE TO DEFENDANT: "You have been sued. You may employ an attorney. If you or your attorney
do not file a written answer with the clerk who issued this citation by 10:00 A.M. on the Monday next
following the expiration of 20 days after the date you were served this citation and petition, a default
judgment may be taken against you."
You are hereby commanded to appear by filing a written answer to the Original Petition at or before 10:00 A.M. of the
Monday next after the expiration of 20 days after the date of service of this citation before the Honorable 223RD
DISTRICT COURT of Gray County, at the Courthouse in said County in Pampa, Texas. Said PLAINTIFF'S ORIGINAL
PETITION was filed in said court on the 24th day of February, 2017 in the above entitled cause.
The nature of Plaintiff's demand is fully shown by a true and correct copy of Original Petition accompanying this citation
and made a part hereof.                 ·
ISSUED AND GIVEN UNDER MY HAND AND SEAL OF SAID COURT AT Pampa, Tx 79066-1139, ON THIS THE 24th
day of February, 2017.
 ATTORNEY REQUESTING:                           Jo Mays, District Clerk
                                                223RD DISTRICT COURT
 JESSE L. QUACKENBUSH                           Gray County
 801 S. FILLMORE ST., STE. 460                  P.O. Box 1139
 AMARILLO, TX 79109                             205 N. Russell Street
                                                Pampa, Tx 79066-1139

                                                 Bym~/(~
                                                   DRONDA KELSEY, DEPUTY
                                                            ** **

                                CERTIFICATE OF DELIVERY BY CERTIFIED MAIL
 Came to hand on the 24th day of February 2017 at 8:58 o'clock AM and executed the 24th day of February 2017
 by mailing to defendant PLAINTIFF'S ORIGINAL PETITION by registered or certified mail, with delivery restricted,
 return receipt requested, a true copy ofthis citation with a copy ofthe petition to the following address:
             MARKS. HENDERSON, MD, 3023 PERRYTON PARKWAY, SUITE 101, PAMPA, TX 79065




                                           JO MAYS I District Clerk

                                           ~~~~
 Fees ........... $108.00
                                                                                     Deputy
                                           · Dronda Kelse
Case 2:17-cv-00128-M Document 1-2 Filed 07/19/17   Page 29 of 102 PageID 36




              EXHIBIT B-5
                                                                                                          Filed 3/15/2017 4:36:34 PM
                 Case 2:17-cv-00128-M Document 1-2 Filed 07/19/17                           Page 30 ofJo102
                                                                                                         Mays PageID 37
                                                !:t!!bi!1IJE:si11' JE1~l~-!~~1L4~£C~                      District Clerk
                                                                                                          Gray County, Texas
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 0  ABSTRACT OF JUDGMENT
 0  WRIT OF EXECUTION
 D O'l'JlER: -~-   ,__       ----------------




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  0 CIVIL PROCESS SERVER-AUTIJOIUZED 1'ERSON TO l'JCK-UI>:
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  0 PUBLICATION *SERVICE FEE REQUIRED*
  0 CERTIFIED MAIL *SERVICE FEE AND COPY FEE REQUI.RED*
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 EMAIL ADDRESS: _____ ) _ _t~~~ QJf@eYJa_(,.~.:i\ -~_()Vt] __________ -~-------------- -------------------------~
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Case 2:17-cv-00128-M Document 1-2 Filed 07/19/17   Page 31 of 102 PageID 38




              EXHIBIT B-6
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           Case 2:17-cv-00128-M Document 1-2 Filed 07/19/17 Page 32 of 102 PageID 39
                              CITATION- Personal Service- TRC. 99
                                   THESTATEOFTEXAS:           :                    ·~
                                                                                        COPi"J
                                                                                            'I .
 AMANDA OLESEN
                                     .                                             -~
                                                                     Cause No: 38783        ·- ~'"' ··
                                                                                                                           ----~
 vs.                                                                 IN THE 223RD DISTRICT COURT
 HENDERSON, MARKS., MD                                               OF GRAY COUNTY, TEXAS


TO: MARKS. HENDERSON, MD, 3201 WEST GORE BLVD., SUITE 305, LAWTON, OK 73505, Respondent-
GREETING
NOTICE TO DEFENDANT: "You have been sued. You may employ an attorney. If you or your attorney do not
file a written answer with the clerk who issued this citation by 10:00 A.M. on the Monday next following the
expiration of 20 days after the date you were served this citation and petition, a default judgment may be taken
against you."
You are hereby commanded to appear by filing a written answer to the PLAINTIFF'S ORIGINAL PETITION at or before 10:00
A.M. of the Monday next after the expiration of20 days after the date of service of this citation before the Honorable 223RD
DISTRICT COURT of Gray County, at the Courthouse in said County in Pampa, Texas. Said PLAINTIFF'S ORIGINAL PETITION
was filed in said court on the 24th day of February, 2017 in the above entitled cause.
The nature of demand is fully shown by a true and correct copy of PLAINTIFF'S ORIGINAL PETITION accompanying this citation
and made a part hereof.
ISSUED AND GIVEN UNDER MY HAND:ANDSEAL OF SAID COURT AT Pampa, Tx 79066-1139, ON THIS THE 16th day of
March, 2017.
                                                Jo Mays, District Clerk
                                                223RD DISTRICT COURT
 ATTORNEY REQUESTING:                           Gray County
 JESSE QUACKENBUSH                              P.O. Box 1139
 801 S. FILLMORE, SUITE 460                     205 N. Russell Street
 AMARILLO, TX 79109                             Pampa, Tx 79066-1139



                                                           **   **
               Case 2:17-cv-00128-M Document 1-2 Filed 07/19/17                            Page 33 of 102 PageID 40
                                                            OFFICER'S RETURN

                                                              CAUSE #38783
 AMANDA OLESEN                                                   IN THE 223RD DISTRICT COURT
 VS.                                                             OF
 HENDERSON, MARKS., MD                                           GRAY COUNTY, TEXAS


NAME AND ADDRESS FOR SERVICE:
MARKS. HENDERSON, MD
3201 WEST GORE BLVD., SUITE 305
LAWTON, OK 73505

Came to hand on the _ _ day of                                  , 20 _ , at                , o'clock _ _ .m., and executed in
-:::-:-----:-----:-::----:-------:---~County,
                                       Texas by delivering to each of the within named defendants, in person, a true copy of this
Citation with the date of delivery endorsed thereon, together with the accompanying copy of the PLAINTIFF'S ORIGINAL
PETITION, at the following times and places, to-wit:

 Name                                           Date/Time          Place, Course and Distance from Courthouse


And not executed as to the defendant(s), _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

The diligence used in finding said defendant(s) being:

and the cause or failure to execute this process is:

and the information received as to the whereabouts of said defendant(s) being:


 FEES:                                                       _ _ _ _ _ _ _ _ _ _ __,Officer
 Serving Petition and Copy $_ __
                                                             _ _ _ _ _ _ _ __,County, Texas
 Total                      $- - -
                                                             By: _ _ _ _ _ _ _ _ _ _ _, Deputy



                                                                                 Affiant

COMPLETE IF YOU ARE A PERSON OTHER THAN A SHERIFF. CONSTABLE. OR CLERK OF THE COURT.
In accordance with Rule 107: The officer or authorized person who serves, or attempts to serve, a citation shall sign the
return. The return must either be verified or be signed under penalty of perjury. A return signed under penalty of perjury
must contain the statement below in substantially the following form:

"My name is ----,=:---,--=-:-:--:-:-:-----:-...,..,----' my date of birth is - - - - - - - ' and my address is
               (First, Middle, Last)

(Street, City, Zip)
I DECLARE UNDER PENALTV OF PERJURY THAT THE FOREGOING IS TRUE AND CORRECT.
Executed in·         County, State of  , on the      ·day of _ _ _ _ _ _ _ __


                                                                   Declarant/Authorized Process Server

                                                                   (ld # & expiration of certification)

RETURN TO:
Jo Mays, Gray County District Clerk
205 N. Russell Street
Pampa, Tx 79066-1139
Case 2:17-cv-00128-M Document 1-2 Filed 07/19/17   Page 34 of 102 PageID 41




              EXHIBIT B-7
    '   :~

             Case 2:17-cv-00128-M Document 1-2 Filed 07/19/17 Page 35 of 102 PageID 42
                                CITATION- personal service- TRC 99

 THE STATE OF TEXAS:                                                 Cause No: 38783
 AMANDA OLESEN
                                          UNSERVED                   IN THE 223RD DISTRICT CWRT                     s        G)
 vs.                                                                 OF GRAY COUNTY, TEXA     c_                    -....1   :o
 HENDERSON, MARKS., MD                                                                                    0         :::3     )>
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                                                                                                          2:<       :::c     0
                                                                                                         ~~         ~        O-n
TO: MARKS. HENDERSON, MD, 3023 PERRYTON PARKWAY, SUITE 101, PAMPA, T                 79ut1o,
                                                                                        ---1
                                                                                             Defendan~                       •"A"'7
GREETING                                                                                :::o  ::o   .,:::_m
                                                                                        C")   ::3  -j 0
NOTICE TO DEFENDANT: "You have been sued. You may employ an attorney. If ou o~oulf-8ttoi11ey
do not file a written answer with the clerk who issued this citation by 10:00 A.M. M t~Monday mxt
following the expiration of 20 days after the date you were served this citation aofEpetition~ d~lt
judgment may be taken against you."                                                =<!             w
You are hereby commanded to appear by filing a written answer to the Original Petition at or before 10:00 A.M. of the
Monday next after the expiration of 20 days after the date of service of this citation before the Honorable 223RD
DISTRICT COURT of Gray County, at the Courthouse in said County in Pampa, Texas. Said PLAINTIFF'S ORIGINAL
PETITION was filed in said court on the 24th day of February, 2017 in the above entitled cause.
The nature of Plaintiffs demand is fully shown by a true and correct copy of Original Petition accompanying this citation
and made a part hereof.
ISSUED AND GIVEN UNDER MY HAND AND SEAL OF SAID COURT AT Pampa, Tx 79066-1139, ON THIS THE 24th
day of February, 2017.
 ATTORNEY REQUESTING:                           Jo Mays, District Clerk
                                                223RD DISTRICT COURT
 JESSEL.QUACKENBUSH                             Gray County
 801 S. FILLMORE ST., STE. 460                  P.O. Box 1139
 AMARILLO, TX 79109                             205 N. Russell Street
                                                Pampa, Tx 79066-1139

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                                CERTIFICATE OF DELIVERY BY CERTIFIED MAIL
 Came to hand on the 24th day of February 2017 at 8:58 o'clock AM and executed the 24th day of February 2017
 by mailing to defendant PLAINTIFF'S ORIGINAL PETITION by registered or certified mail, with delivery restricted,
 return receipt requested, a true copy of this citation with a copy of the petition to the following address:
             MARKS. HENDERSON, MD, 3023 PERRYTON PARKWAY, SUITE 101, PAMPA, TX 79065




                                           JO MAYS I District Clerk
 Fees ........... $108.00                  Gr:mtn_unty, Tf(a~
        r                                  By      C{Q.... C-fA£~                   Deputy
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                                  Case 2:17-cv-00128-M Document 1-2 Filed 07/19/17   Page 36 of 102 PageID 43




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            CERTIFIED MAIL® RECEIPT
            Domestic Mail Only




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           PS Form 3800, July 2014                See Reverse for Instructions
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              Case 2:17-cv-00128-M Document 1-2 Filed 07/19/17                             Page 37 of 102 PageID 44                                         ~   ----- . . . . . . . -.'0




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Case 2:17-cv-00128-M Document 1-2 Filed 07/19/17   Page 39 of 102 PageID 46




              EXHIBIT B-8
                                                                                                      . Filed 4/5/26Tf8:22:4 fAM .
            Case 2:17-cv-00128-M Document 1-2 Filed 07/19/17                                 Page 40 of Jo
                                                                                                        102    PageID 47
                                                                                                            Mays
                                                                                                             District, Clerk
                                         CITATION- l)crsonal Scrvic1.·- Tl~C 99                              Gray County, Texas
                                              THE STATE OF TEXAS:                                            Reviewed By: Dronda Kelsey


 A\·lANDA OLESEN                                                            Cause No: 387R3                                    ~
 vs.                                                                        IN TliE 223H.D I)JSTH.ICT COURT
 IIENOERSON, MARKS., \H>                                                    OF (;J{AY COLNTY, TEXAS                       f.*~

                                                                                                                     ~
TO: Mi\RK S. IIFNDERSON, MD, :\20 I WEST UOH.E BLVD., SUITE 305, 1./\ \VTON, OK 73505, Respondent-
GREETING
NOTICE TO DEFENDANT: "You hnn• been sued. Ytlll may £'mplny nn attol'llcy. If you or yom· attol'ncy do not
tile :1 written answet" with the dt•rh who issnc1l this citntion by 10:00 A.M. on the Monday next following the
expiration of 20 days nftt•r the date )'(HI were served this citation and pdition, a ddault judgment may bc tal<t•n
~•gainst ~·ou."

Yon illt: her.:by conmumdect to app<:ar by li!ing a writk:n answer W the PLAINTIFF'S OIUG INA L PETITION at or b~.:fnrc I0:00
;\.:vi. of the i'vlonday next aftt•r the <:xpiration of20 day;; alkr the dat~~ of~ervin: of this citation bd(lr<: the I lonor:thk 223RD
DISTIUCT COUln ~•fGray County, at the Courthouse in said County in Pampa, Texas. Snid PLAINTIFF'S ORIGINAL PETl'I'ION
was lilcd in ;;aid C(Htrl <ln the 24th day or February, 2017 ill the abov~· cntitkd cause.
The nntun: of demand is fully shown hy a true and correct copy ni' PLt\INTIFF'S ORIOINAL       PI~T!TlON   a\:t:ompanying this citation
and made a part h<orcof.
ISSUED AND GIVEN UNDER MY HAND t\ND SFAL OF SAID COURT AT Pampa, Tx 79066-1139, ON TillS lllF 16th day of
March, 2017.
                                                     ,Jo i\lays, ni~trict Cieri<
                                                     22JlW I>ISTIUCT COURT
 ATTOHNEY lU:QlJESTlNG:                              (;ray County
 JFSSE QlJACKENBUS! I                                P.O. Box II 39
 ~lll S. FIII.;'~AOI~E, SITIT: ·IM)
 i\!'vl:\!1.11.1.0, TX 7910')
             Case 2:17-cv-00128-M Document 1-2 Filed 07/19/17                                                  Page 41 of 102 PageID 48


                                                                     CA lJS E tiJl'miJ
 AMANDA OLESEN                                                            l!'i TilE 22.mD DISTRICT COUHT
 vs.                                                                       OF
 HENJ)EJ<SON, MARl< S., :Vll>                                              (~){;\ 1·   COUNTY, TEXAS



1'\AME ANI) AIH>RESS FOR SEHVICE:
:"vlt\RK S. !IENDJ:RSON, (';ll)
1201 W!SI' CiORF BLVD .. SUITE 305
LA WTUN. OK 7J505

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Citation with the dat~ of dclivcty ('IHI(II'scd tiK'r~·on. togdhcr with the acrompanyin~~ copy of the PLAINTIFJi'S ORIGINAL
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In accordance with Rule 101· The officer or authorized persor1 who serves. or attempts to serve. a citation shall sign the
return. The return must e1tl1er be verified or be signed uncler penalty of perjury. A return signed under ponal\y of perjury
must contain the statement t)elow in substantially the following form:

"My name is --·-····--------------·                         my date of birth is·-----.. -----· and rny address is
             (First. Middle. Last)

(Street, City, Zip)
I DECLARE UNDER PENALTY                      or
                                   PERJURY THAT THE FOF~EGOING IS TFWE ;\NO COfiRECT
Executed 1n --------~-~-----County. State of _______ , on the _________ doy of---···-·--·-....... --..----..-··


                                                                              DeclaranVAuthorized Process Server



RETURN TO;
Jo Mays, Gray County District Clerk
205 N. Russell Street
Pampa, Tx '19066-1139
Case 2:17-cv-00128-M Document 1-2 Filed 07/19/17                     Page 42 of 102 PageID 49
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 Cametohand::VIarch -20- - -,2017at -  :10- o'clock -P.\l.
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        CITATIO~      and   PLAI~TIFF'S ORIGI~AL            PETITIO:\

 Delivered on: _ _3_-_2_9_ _ _ _ , 2017 at_1_1_:_JJL o'clock _A_. :VI.

 Delivered at:   3201 W. Gore Blvd., Suite ~()t:;,___,!L~a:!..;w!Lt~o~n------
 County          Comanche                                       ,   Oklahoma

 By Delivery to: MARKS. HENDERSON, MD., in person, a true copy of the above
 specified civil process having first endorsed on such copy of the DISCOVERY the date of
 delivery.

 Not Executed:


 I am over the age of 18, and I am neither a party to nor interested in the outcome of
 the aboye numbered suit; and I declare under penalty of p · ry that t
 is true and correct to the best of my knowledge.


                                                 --~~~~~~-·~4HWL-~~

                                                 Olpslawton Process Service
                                                 431 sw c #102
                                                 La"\-\·ton Oklahoma 73501

 STATE OF OKLAHOMA:
                                      VERIFICATION

 Before me, a notary public, on this day personally appeared the above named
 Authorized person, known to me to be the person whose name is subscribed to the
 foregoing document and, being by me first duly sn·orn, declared that the statements
 therein C,Rn~a.iped are true and correct. Given under my hand and seal of office on
 this thec;Xq"f!! day of /l)lt.rcb             , 2017.




                                                            SHARON KAY ROPER
                                                                 Notary Public
                                                              State of Oklahoma
                                                           Commission #17000532
                                                     My Commission Expires January 19, 2021
Case 2:17-cv-00128-M Document 1-2 Filed 07/19/17   Page 43 of 102 PageID 50




              EXHIBIT B-9
      Case 2:17-cv-00128-M Document 1-2 Filed 07/19/17                       Page 44 of 102 PageID 51
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                                                                                    Jo Mays
                                                                                    Dtstrlct Clerlt
                                                                                    Gray County, Texas
                                           CAUSI~ NO. J87lB                         Reviewed By. O'Leen Bennett

A I\'IANI>A OLESF.N,                                §.        IN THF. 22JKD DISTRI<..'T COURT
         I'LAtNTII'F,                               §
                                                    §
vs.                                                 §         I N AN I> l<'O R
                                                    §
PIUMl!: lll,:ALTHCARE                               §
FOl.JNOATION, I NC. ))fBIA PAMPA                    ~
REGIONAl.• MEHlCAL CENTEH ANO                       §
MARl< S. II ENOERSON,M. I>.,                        §
         J)t;FF.NJMNTS                              §         GRAY COUNTY, T J•:XAS

                           PLAINTJ FF'S JIJHS'J' Al'rt'Rt'/DED PETITION

         COI\Ill~S   NOW, AMANUA Ot.ESI\N, hcreinuficr referred to as Plaintiff, complaining of

f'lll\1 1': 111\ALHI CA itV. f'O UNOATION, [ NC. rl/11/A PAM!•,\ REGIONAl, M lltiiCAL C t>NTE ll ANO

MAitt< S. llJ::NO}; n soN,   M.D. herein~ner sometimes referred to     as Defendunts   and in Sllpport of

t hi~ cmtsc of uc(ion   wottld rcspcctflllly show unln I his Honorable Court and Jury ns fo ll ows:

                                                     1.
                             m SCOVERY LEVF.t. l~LI•:CTION AND
                          HEOOEST FOH OISCOVRHY CONTRO~ PLAN

         1.0 I Pursuant to Tr,x. R. CIV. P. 190, J>lain!ill'n.'()Uesls that discovery be conducled under

Level 3, T t!X. R. Civ. P 109.4. Further, l'lnintifl' moves for an Order that di!."Covcry be conducted

in :1ccordancc wi th a discovery control plan tai lored to the circumstances of this specific case,

purMilllll to Rule l90.<l(a).

                                                    ll.
                                                J.:&QJ.!:;~

         2.02 l'laintiff,    AMANOA    OLESEN is u resident citizen of Pampa, Orny Counl y, Texas.

ll1e last four digits of her social sccmity mnnbcr arc 4911.

         2.03 J)efendam, MAnK S. llt:Nn t:ttSON, 1\10 is a licensed TclCas physician. This

Ocli:ndant hns been served wilh citation.




l'lain tii'Ps First Amended J>ct ilion                                                      Pa~-:c   I 11f I0
    Case 2:17-cv-00128-M Document 1-2 Filed 07/19/17                           Page 45 of 102 PageID 52



         2.04 Dclcndant, l'RtMtl, l·h ;ALTHCArtJ.S FOUNI>ATION, l NC. r>/ll/A I'AMt'A Rtr.<;U>NAI,

M EOICA I, Ct·:NTtm is a foreign nnn -prolit corpomtion 11nd      muy be served by serving its Re~stcred

/\gent, Hrnd Moon: at One Medical Pluza, Pampa, TcxHs 79065.

                                                     .111.
                                        IVHT!!..QQ..PJI SEHV tCJo:
         3.05 111uintiff requests thulthe Gray Count y District Clerk issue citation and serve the

Defendant I'RtM V. li EA t;rHC,\R f. FOUNOATION, I!'>C. ll/ 11/A l'M•IPA R F:GHlo'IAI, MlWICAt . CF.rlTRR

wi th citation along wi th a copy   orlht: Petition by certi fil:d rnail   returned rtccipt requested.

                                                    IV .
                                             .t()IUSTHCTJON

         4.06 "I he Court has jurisdiction over Defendants, because the Defendants' principle

place of business is in Texas. The Court has j urisdiction over the controversy because thedmnages

arc within the jurisdictional limits         or this   Cotn1. Plaintiff seeks dumagcs in excess              or
$1 ,000,000.00.

                                                       V.
                                                   Vl!:NUE.

          5.0"/ All or part of Plaintill'~ causes of action umsc in Pampu, Oroy Cou nt y, Tcxns.

                                                   V I.
                        NOTICE <W        II F.ALT HCAIU<: I.I AIJI LJTY C.J.ALI't!.

          6.01l Sixty (60) days prior to fi ling or thi s suit, Plainli If gave wrill~o notice of her

claims to tile De fendants as required by TEX,\S CI VIl , I' RACTlCl' ,\Nfl R r.M 1\0tES CODE§ 71\.0S l.

See, Exhibit "/\" attached and "U" iltlachcd hereto.


          6.119 l'htinti ff will show th at, at all times rclovaut and nuttel'iol hereto, Ocfcndant, M ARt<

S. Jl~:Nt)T-:tt!'ION, MD, was a licensed Texas physician unci Dcfcnd!llll l'RtME             Ht.:At : rHCAill<:

J•'o t!Nt)ATION, IM' . u/ u/A I' M il'A Ht>GIO!'iAt. MtWt CA t.Ct·Nmtt retained authority to dictate the



l'laintiff's First· i\ m cutllld l'ctiliun                                                     Pa[~C   Z (II' [ 0
    Case 2:17-cv-00128-M Document 1-2 Filed 07/19/17                              Page 46 of 102 PageID 53



manner in wh ich he provided cnrc and/or surgical services at Pampa Regional Medical Center to

Plaintiff.

                                               VII .
                                      FACTS AND A LLIWATI ONS

           7.10 Pla intiff is a 26 year old female who was seen in the hnnpu Regional Medical

Center   t ~mer·gency   Department on November 3, 2015 with the complaint of lt.:ft lower quadrant

pain for J days. Pampa Regional Medical Center is owned and operated by l'RI~t t> lli'.AI,TIICAIIV.

f•'OUNDATION,      I NC u /Uh\   l'AMr,, lh :c.aoNAl.   M EUl C.:IH.   C.t•;NTKR, Dt:fcndant. Tht: patient     wa~

evaluated by l'lr. Donald Hubbard who noted lllQ(knttc right lower quadrant pain on exam. 1·1<.:

ordered a CT scan of the abdomen/pelvis which shows acute appendicitis. The patient was

admitted to the hospital by Defendant, MAilK S. II EN OI-:RSO:i, MD, wlto wo~s working in the course

and scope of thi~ employment with Defendant, l'ruM r'             i-IRALTIICAI!I~ l <'OIINUAT!ON , I NC.     n/11/A

P AMPA     RR<: toN,\t. MtmtC:AL C"NTI'.It. Plaintiff       w11S b~ing     treated   outsid~   of the   Emcr~::cncy

Department as n surgical paLicm and was in stable condition.

           7. 11   Defendant, MA tU< S. J-h;I'II>JmsoN, M I> look Plai ntiff to the operating room J(H· u

luparoscopic appendectomy. The op,:rutive report reveals that she received              pr~011"1·at.iw Zosyn nnd


Lhat the lapuro~copic appelldcctnmy was corupleted without cotnplicalion.

           7.12    Postoperatively, Pluintiff had persist..:nl fever which was documented in

I>c fcndant's progress note to be as high as I04 dcgr·ccs Fu hrenhci t on the morning of November

4, 2015.

           7.13    A repeat CTscan of' the abdomen and pelvis was ordered und completed November

4, 20 15 a( I RJ2. The CT report mentions "1\uid-fillcd         tubnl ~rr structure   1.0 em i11 diameter" in the

right lower quadrant. The report conclusion was as li> ll ows: " 1 Postsurgical cltangcs 2. Qucstio11

of incomplete appendiceal resection 3. Lcfi external oblique hematoma."


J>lnintifl''s l<'i rsC Amended J'ditin11
   Case 2:17-cv-00128-M Document 1-2 Filed 07/19/17                               Page 47 of 102 PageID 54



          7. 14 The "Oros~ Dt:scription" section of the pathology report from the November J,

2015 surgery by D!~f!~ndant was reported ns follows: "The ~peci men is received in fonnalin labeled

'1\f}pcndix ' and   consi~ts   ora 3.5 x 2.0 x 0.9 1:m, in·cg,ulur appendix with up to 1.0 em ofatt.ad1cd

mesoappendix. Two sutple lines arc identified. No obvious appetldix tip is identified."

          7.15 The discharge summary from             th~ ho~pital        shows the date of      admis.~ion   to be

November J . 2015 ;md the date of discharge Novc1nbcr 7, 2015. T he d!lcuulcnt summarized

Plaint iffs hospital coLu·sc ns fol lows: "The patient was seen in the emergency room by MAnK S.

HENDF:RSON,     M 0 . Pluintiff was taken to the            opcr~1t inc   room und underwent laporoscopic

appendectomy without oomplications. Postoperatively she developed po~tO(>Crative abscess. At the

discharge, the patient has been tolentting p.o. well and normal bowel function. No evidence of

peritoneal s igns."

          7.1 (> Plaintifl'thcn pre~ented oo November<), 2015 to the BSA Ileal li t System emergency

room in Amarillo, Texas "complaining of chronic pain in the lower abdomen, not feeling well,

fevers off and on and has a history of having laparoscopic appendectomy done in Pampa some 8

to 9 clays ago." The adm ission 1-listory and Physical by Dr. Victor Hand             reflect~   that, "ll1c patient

lwd u diagnos is of nppcndi citi s proved by CT $ean in I'Ampa, was taken to lite opcrnting room by

the Pampa surgeon who performed a laparoscopic nppcndcc.torny, rcmnvcd the appendix from the

cecum but only took a small         ~cgmcnt   or m least   pttt1   of the proximal appendix but left the distal

appendix in the patient and t:vcn afterwards he knew he did this ami even afterward~ the follow-

up C'l'   ~bowed    the stnplc line across the base of the <.:ecutl\ and the distal append ix still in the

pa ticnl. 'fhc patient wus told thul. it [itl would l1cal wi th antibiotics and she wus in the l10spitnl lhr

5 or 6 days getting antibi otics and then she went with l.cvnquin und Flagyl and                 wa~   told it would

l>e bcUer. She says today when she saw her surgeon he told her it was going to get better and that




l' lnintii'Ps Firs t AnH:nth:d l'ctition                                                               l'agc 4 of 10
   Case 2:17-cv-00128-M Document 1-2 Filed 07/19/17                           Page 48 of 102 PageID 55



she   wu~   already in the mend and w;os doing well.       ·nw patient says she felt miscmblc, w;ts still
hurting and she came to BSA emergency room."

            7.1 7 The PlaintiiTwas mlmi!lcd Novcrnb~r 9, 2015 by Dr.lland with the diagnoses of:

I. Retai ned distal appendix ttf)cr Hppcndcctomy approx imately 8 days ago.?.. Patient with histOf)'

o r appendicitis with the appendix removed !i·o mthc ccwml aparoscopically but thc dislu l segment

or the appendix was left in the patient.
            7.18 Dr. lland's History & Physical documents that he reviewed the films with the

rudiologist. lie mentions u "small fluid collection nnd air pocket next to it," which was felt to

possibly represent a ~mall absce..~s.

            7.19 On November 10, 20 I 5, Plaintiff underwt:nl laparoscopic removal of "what

appo:<l n;d to be a majority of the appendix"       ~ncl   drai nage of "the abscessed cavity uround the

uppcntlix." Dr. lland left two drains in tho; right pe lvi~ uller copiollS i1Ti gation ofthe (lbsccss cavi ty.

            7.20 The pHthulogy report from Baptist St. Anthony's ll calth showed" Acme necroti zing

appendicitis and acute p<!riappcndicitis wit h fenturcs consistent with perfmation and abscess

formution." ll1c Gross Description of the specimen showed "a 7.0 x 1.0 x 0.7 em, ruptured

vcrm i f(lnn uppendix .''

            7.?. 1 Also \lll November I0. 2015, l'luintiiT hml a PICC line phoccd for IV uceess and for

(lntici p•llcd need for long term TV antibiotics.

            7.22   Dr. Hand requested an lnl"cctious Disease consult and Plaintiff was cvaluatt:d by

Dr. Pablo Rodriguez. Dr. Rodrig,ucz documents that the cultures showed a polymircobial process

including gram-negative rods and gram-positive cocci. Dr. Rodriguez recommended at 2-3 week

course of antibiotic therapy.




t•Jnint iff's First A mended Petition                                                           l'u gc 5 of Ill
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         7.23       Pla intiffw~s d isehm·~cd    November 15, ?.01.~ uller having. her dra ins removed. She

was pre-scribed a course of IV lnvunz through December 7, 2015.

                                           V IIJ.
                 NEGLI GENCl~Q!" D RFF.N DANT I\1 A Ill( S. 11 EN BERS ON , .M. ll.

         tJ.24      The standard of cu•·c i 11 Texas n~qui rcd proper pre-procedure l.lvaluntion, in li~rmed

consent rcganli ng the risks, hencli1s, and possible complications of the surgery, appropl"iatc

procedumltechniquc, and pn•dcntj udgmcot with rcgnrd to decision making. 'l1u! slaodard of care

also rC{jllircd      c;~rcful post-p•·oceclun~   evaluation,   a~sessi ng   patients fo•· compl ications, and

arranging approp1iatc fol low-up.

         8.25 Defendant,           MAIIIC   S. li ENm ; n soN, MD breached the standard of cnrc:: by

improperly pcd(mning laparoscopic uppendectomy and ret11oving only a portion of Plaintill's

appendix.      J)~ti:ndant, MA Rl< S. IIENDEH.SON,      MD breached the       st~mdard     of cure by fail i n~ to

remove the n:taim:cl portion of Plaint iffs apr cndix once the condition was rccogni7.cd by

pathology, (..'T ~can and J-'lllient's condition. Defendant, M AHf( S. Hl•:Nf)EHSON, M D breached the

standard of cw·e by discharging I he patient on or:tl nnlibiotics             ltntl   allowing her condilion to

progress to     nccwti~,ing     appendici tis with perforatio11 nnd peri-appendiceal abscess. DclcndHut,

MAHK S. H f:ND~:nso~. MD breached the standard of care by failing to address the patient's signs

and symptoms upon follow-up.

         8.211 111 this case, the standard of care rcqui •·cd thm De.flmdant,            M AIU< S. H F:N iliWSON,

MD correctly perform laparoscopic 11ppcndcctomy and remove the entire appendix. The slandard

of care retluired that upon recogni7.ing the majority of the oppcndix had not been removed, !hut

Derenclalll, MAJtiC S. H EN J>EilSON, M I) perform comp k:l[on appenclcclomy to remove the infected

nppcndiccal remnant. The standard of core requi red thnt Dch:ndan(, M11111<S . llt•: Nn KnSON, MD

not ignore the pmhology, CT scan, nnd Plaintiff's               ~ymptums     thus allowing her condition tu



l'laintifl's   l<' ir~t   Am ended Pet ition
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progress to n(.'Crntizing appendicitis with perforation and   pcli-appcndicealabsce.~s.


         8.27    Defendants, acting individually and/or by and through its employee, violnted the

stnudurds of <:ure ~nd duties owed to Pia inti !'I' to exorcise ordinary care imd d iligence exercised by

o ther hosp iwl s/physkians in the same or si milar circUJl\Sltmces, untl were ncglir;ent in numerous

respect~, in1:l ud i nt~ but not limited to the fol lowinc:

              a) Pai lure to properly pcd'orm lopamscopic appendectomy;

              b) Fai lure to remove the appendix during laparoscopic apJ:>endcclOmy;

              c) Tlailurc to re-opcmtc to remove the inlcctcd apJ>endiceal remnant allcr
                 identification of' purtial resection; ond

              d) Fai lure to propel'iy treat the patient's appeJldici!is, thus allowing her condi tion to
                 progress to necrotizing appendicitis with pe1foration und pcri-nppcndieeal
                 abscess.

         11.28 Eaclt of forego ing acts and/or omission~. separately and/or collcctivoly, constilutcd

1\C(!.Iigcnce which proximately ca.usetl Plnintiff's injuries and damages herein clc~cribcd.

         8.29 Pmthcnnore, Plain tiff will show that the acts and omissions of the Ddcndnnts, as

described ubove, were can·ied out with heedless and recklelis disregard for the safety nnd welfare

uf l'luintiff, and such disregard WltS a result of willli1l and wanton hehavior :md conscious

indi rtcrcncc. The Defendants' conduct constituted gross negligence aud l'laintiiT s.:ck~ punitive

dnmnges.

          8.30    Eaclt and all of the foregoi ng acts mtd/or omissions of the Ddcndants, taken

separately ~nd/or collectively, const itute~ 11 direct and proximate cause of it\iurics und damages to

Plaintifl', as set forth below.




Pluiutifl's First Amend ed !'cl ition                                                        l'ar,c 7 of J 0
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                                                       IX.
      Nl~GLIGENCE OF DEFENDANT I'IUM 17, II I~ALTflCARl<: FOUNDATION, I NC.
                           Dill/A PAMPA Rli.GJONAL MIWJCAL CENTJm

           9.31 At all tim():; relevant nnd material hereto, Defendant MARl{ S.Jh:N nntSON, M.t>.

WUS    (Ill e1uploycc of J)cfcndaut,        PlUM~:   ll"ALTIICAJm FOUNOATION, IN<;.          11/ U/11   J',\MI'A

RltWONAl. M tmJCAI, C.ENTLm and wns work ing in the course und ~cope of his employment.

ThCI'Cforc, all of the act~ and/or omission~ complained of regarding Dcfct1dnnt MARl< S.

HENflllRSON, M.U. ure attributable to                hi~    employer, Detcndani, I'RIMR      l h:A I.TIICIIIU~


l•'OUNDATION, INC          o /u/A P AM PA l~F.GIONAI .     MEOICA I,   CRI\1'RR   pursuant to the theory     of


Respondent Superior.           Defendant PRIM II I h:AI.TIICA Ill~ FOUN 011TION, INC.         1)/u/A f' Al\11'A

R f.C IONA I. MrmiCAL CI•:N"nm was jointly burdened with the duty of following ull applicable

standards of care during the Plai ntiff's hospitalization and is vicariously liable for nil damages

proximoicly resulting from these j oint vio l <~tkm~ ol' their standards            or care of its employee
Dcf~ndant      MARl< S. BENilEitSON, M.J>.


                                                           X.
                                       DAMAGJI,S OJ? J>LATNT I FF

           I 0.32 As a direct and proximate result of the negligence of the Defendants, Plaintiff has

suffered   ~ub~tanlial     injuries and the liJIIowing damages, tne value of which fnr exceeds the

mi nim um j urisdictional li mits of this court:

                   I.      l'ain and Suffering p n~ l and future
                   2.      Mental An guish past nml fut ure
                   3.      l'hysicallmpairmcnt· past and future
                   4.      Mcdicn l Charges p:lSI and future
                   5.      Uisfiguremcn t: past all!ll'uturc
                   6.      Lost wages
                   7.      Loss of cnming capacity
                   8.      Exemplary damngcs
                   9.      PJ·c-judgcmcut 1md Post-,lucl gcmcnt (utct·cst
                   10. Court Costs



Plaintiff'.•   l~irst   Amended Petit ion
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                                                     XJ.
                                           J)tyM~.J'iP FOR.J.!,LRV

         11 .33 Plaintiff respectively requests a Lrial by jury and has tendered jury fcc concurrently

with filing or this .tclion.

                                                    XII.
                                                 !'R~YKH.

         12.34 l'lainlifTpmys that the Defendant PlUM i> JII•:.A I : rncARR      fiOlJNI>A'flON,   INC. Din/A

PAM I' A R EGIONAl. M.:DICAL C"N'nm be cited to appear nnd            answer herein, that upon finaltl'inl

he reo C. Piainti f.f ]lUV\~ .i udgcmcnl nHa insl the Defendants .ioi ntl y and sewrully l'or the full amo unl

of her damages os herein alleged, pre-judgement interest and post-judgement interest at the              le~ttl


mte, costs of Court, exemplary damages, and such other further relief to which she may show

herself to be justly entitled.

                                                   HcspccHully submitted,

                                                   QliACKRN UUSH LAW "' lltM



                                                   ~esse Qua e~    tbusb
                                                                            -
                                                   'I' exitS St·ntc Dar No. I 641. 1975
                                                   801 S. Jt'illmure, Suite 460
                                                   Amarillo, T cxns 79 1OJ
                                                   Phon e:           (806) 374-4024
                                                   Facsimile:        (806) 352-01173
                                                   E-Mail:           .mss t·;ou:.@~~\!!.d.:P~•

                                                   ATTOltNleY FOH PLAINTIFF




l'laintiff's First A111cndcd J'etiti1111                                                         Pngc 'J of J 0
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                                    C Jf,RTfli'I CAT E OF SRRV IC J•:

        I hereby certify that on the 2011' day of June. 2017, a !me and correct copy of the above and
lilrcgoing Plaintiff's First /\mended Peti tion was served on all parties of record a;; follows:

        VtA C MRRR: '/0091680 0001 g097.7f!1J.
        Mari\ S. Tlt:ndcrson, M.D.
        320 l Wc~t Gon>lloulcvanl, Suilc 305
        1,awtun, Oldllhoma 73505




Plaintil'l''s   Fir~!   Amended l'ctition                                              l'a~c I 0   uf I tl
Case 2:17-cv-00128-M Document 1-2 Filed 07/19/17   Page 54 of 102 PageID 61




               l'LAINTlJ7V' S FIRST AMENDED l'.K l'ITlON
                                l~xhihit "A"
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                                                   Novcmbt:r 2 1, 2016



       .Y!•t§;MJEl!.m.Jttl§J_:~zQllil!ll...1!.~1 zoo~
        MarkS. 1 lcuderson
        T'ampa Medical GroufJ·SURG
        :1023 .Perryton .Pnrk w~y, SuiH! 101
        l'lunpa, 1\:xns 79065



                Re. i\ manda Olesen
                JJulc of Incident: Novc111bcr 2015

       Dear Duttor Henderson:
               J h:1vc been c.onsllllecl by Arnm1<1~ Olesen for llle purpose ofpmsuing a henlthcare Jiobil ily
       clnim ~JgainsllP!t". J.IIJIMa< S. II [(\!ldcr~ouQ, arisi ng :fl:on1 you~ cnrc and treatment of her in Nov<)mber
       2015 at Pampa Regiunnl Medical Ccnlcr.

                 On I he basis of the ini(Jrma1ion li Jrnishccl to me by my client and my invesligation and
       J'CSOtlrch, J h:wc dct•.mn i•tcd Uwl llterc arc more tllan l'<lfiSOtlllblc grounds to belicw that tlte tlbove-
       named client has n viable hcalthcare liability claim against yot<1 audio•· yout·, 11genls, nfftcers,
       scrwu1ts, ostcm,;blc agents, cmployet--s, corporation, partnership, professional ussociation, other
       IISHociatcd entity, mu~~s und smgical tcclmicians. Th~ basis of this claim is that all or pmt of
       /\ 111ancla Olesen's appendix was not rcn1ovcd during her appendectomy surgery at Pampa Regional
       v(cdical Center, ~•i•ich you pcrlhrmed. This £'1ilurc resulted in infection and an additional surgery
       which WdS pcrfonned at BSA hospitnl in Amarillo, Texas.

                  Notice: Pur:mrutt to Toxtts Civil Practice a11d Remedies Code §74.051, notice is herchy given
       to Ot·. M:.u·k S. Hcuvlcl"Soo, its ngcrtts, officers, servants, ostcm;iblc agents, en1ployecs, corpo•~•tion,
       pu1tnership, professional a~<>oeiation, or other asso,;iatcd CJ1tities.

               Encl<1sed is a signed At1thorizati(ln Form (or RelcHse of Pmlcctcd Health Information
       pnwided to you pln"l:uant to Tex. Civ. Prac. Rem. Code §74.052 as well as a HIPPA authorization for
       the release of rh(~ r~corc.ls w1d information.

               Pursuautlo Section 24 J . t 03(c) of the Texas Health and Snfety Code and Orlega v. 1i·evinu.
       M.D., 938 S.W.2d 2 19 (Tex. App.·-Cotpus Christi Jan. 30, 1997, n.w.h.) regarding spoliatioH or·
       eviclunce, I requcst lh~t the complete .file und/or chart and all of ils contents inclttding llle entire
       medical aud bi lli ng records, photographs, memoranda, com::spolJdcncc, phone notes, imaging
       studies, radiology studies, x-rays, tissue specimens, biopsy specimens, and other diagnostic lesting
       materials of i\manda Olesen, be 1naintained in th(~ir original cond iliun.


H IM1 i\ nllRFSS:                               801 S. Fil hn()n•, S uite '~(•0                        AMAL<ff.I.O, Tl'XtiS 79.lOJ.
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\fovctnbcr 21,2016
Page 2


           I recommend that you s~nd copies or I his lcl1cr, to your profl:ssional liability insurn n(:c
Cllt'ricr, asking them lO contacl rnc as soo.n u~ possible. Undt:r no circlm\Sianccs do we wi$h to
institute or pro~culc 1111 unfounded or IUlOCCes:;ary medical negligence cl::~im. We have !'Cached the
conchrsions slaWd rr.bo w uller reviewing the records nnd after having had a hca lthcm·c provider
review lhcse records ~nd give us n preliminary opinion. This opinion is based upon 1l1e fact~ as
outlined in tile medical records, !llld auy fncts on:ircumsl.onccs not reflected i.nlhose records would,
os a conscqllcncc, not be considered (tf this li me. l hen:fort\ if you are aware of other fuels Ihat
would shed additional ligltl 011 the care of lhe patient, please mlvise us through your attorney or
liabil ity iusnrancc carrier.

       I look forwaro to hearing from you, your a!lomcy or your liahility insur~ncc can·icr in lhc
very twar .fu1 urc.

                                                           -   Sincerely,~-·~-·-
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                                                                         /
                                                               Jesse Qua!slccnbush,
                                                               J\Uomey




JQ/ebw
linclo~ure:   Ch. 74 Medi ,;11l Authorizati on
cc:      Amanda Ol~cn
         Case 2:17-cv-00128-M Document 1-2 Filed 07/19/17                                        Page 57 of 102 PageID 64



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    J. To fatoilitate lhc investi[\llfion unci evnhoalion ol !he health cMc <>Inion                   ck,~cribcd in     lhe
Hccompnnying Notice of l lcniOt.Cnre Choion; or

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who Jo<t'VC cxnmincd, cvulmoted <•r trcaLccl AMAI'!f~M.. OU·:s~:N in conncc.ti<>n with the i•tiurics
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   4. Th<i ltc;dlh inforonntion in oloo c:ustody ol'llt~ following phy$icians or hcalllo car<> providers
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C. Excluded li~nth ln fonnation - Ihe fo llowing COliShlutcs a list of ph)rsicians or health care
               Case 2:17-cv-00128-M Document 1-2 Filed 07/19/17                                 Page 58 of 102 PageID 65


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                                                  C<)UCCJning AMAN])A OHi!~>l~ll!.)o which th~'
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          1>. '11lc pen;<>us ur class of l>¢o.,;oos to whom Jhe health mlonnation nl ~-I)A OLJo~'i}\N
 wtll be disclo=l or who will make u~c of S!ttd mConHation ~rc:

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physicilll1 or hcallh cn• c provider to whom Nof.ic.; <Jf flcalth Car(: Claim has hmm given with rcgru·d
to the cM·t: and !ren.ftucnl of'~!yM..\\11!1.1 O~!~~SII!:!\J;

          3. Any consullmg or te.~lifying cxpct1s cm1>loycd hy or nn behalf of____ ··· - - - __
    ___ ___              _ ___ . ·-·.. -      __         ....·-----· ___.._with regaul to the
roHltcr ~ct. out in lh~ Notice of Health CAre Claim occompanying 1his ~uthorizat ion;

        '' · /\ny atto• 11oy~ (inclnclong sccrctru·i~ l, cJcricnl or pamlognl stn.fi) eonpk1y<•d by Ol' on bchnl f
of __         _ ·-               __          _ ___            ____           _                . __ __
-·      ·~---           .• ____            ____           _ ___            .•with t-e.gard to lhc matter set out
in Ihe Not1cc oflJc,IIITi Care Clnim ll.CC<l•llpanyint; lhis authoritntion,

         5. Any ti'icl' nf the law oo liJ.C I~ relating 10 nny su it filed ~cc;ki ng dnmngcs arismg out o l' ih<:
n•cdicul care en lrcatrncnt of_______ _ _ - ... __                   ___ _____               _.

     t1.. ·n, is autbot i1.atiou .~hall t<xpwc npoot rt'.o;oluhon of ll>c claim n.~~crted or at the conclusion of
      liligarion i• t~tilulcd in tonncctiou with the suhjccl· matter oi'fhc Notic" of Hcnltlt ( Aorc Cl~iUI
t!.l.l,)'
acl'Ompnnying th is :nuhori'l.atioH, whichever occurs sooneo·

    F. I understand that, without exoopli<>n, 1 have the right to revoke this ~uthori?.ation in wrtllng.
I fmthct understand the consequence of ru1y such rcvoc~1ion ~s ~ct out in Section 74.052, Civil
Practice ltnd R3~metl ic~ Code.

   G. I undcrsta.11d that the sip,rting of this authorization is not u condition tor continued heallllQnl,
payment, cu·ollm<lltt, eligibility fot health plan benefits

            .~II. l und<~rStilll!l   that inf'hrma!ion u~cd or d isdoscrl pursnunl to this anfhorio otionmay be ~ubject
(o rcrlisc losure by tho recipient and nwy no lon&cr be protected by fcdornl lll.PPA privacy
rcgulutions .




Sign111'1'1'~        ofi'otiellt:
        Case 2:17-cv-00128-M Document 1-2 Filed 07/19/17   Page 59 of 102 PageID 66




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         Case 2:17-cv-00128-M Document 1-2 Filed 07/19/17                           Page 60 of 102 PageID 67


                          AUTflOlUZATION FORM FOR Rl~LF.ASEOft
                            ?!~Q1lli"_:~H:!) ni~~L:f!!_DNJ!<'OJ{MATWN
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            A. I,~ ANDA (~l<'j?EN hereby autlooritc. UA(;KF.NBUSH ,AW l•'ffi¥ to obtain
and disclose ( wollun the vurametcrs set <llol hclow) the prote<.,tcd lCio1 m oo n111tion descrohcd below
f'or t)l<\ following SJlL't.iCic purposes:

     I. To f:tcilitntc the. invcMigalion nnd cvaluati••n ol the      hc~llh   care clnim desco ihccl in the
.tcctunpanyiug Notice. or lJcnllh Care Claim; or

   2. Dctcn.%> of any litig~tion arisint; <lcot·ofth.e clnim made o<1~ is oft1m accomp;onyiug Notice of
Ucnlth C<w~ Clnim.

          .15.] hr hcalUl inf,.nu~fion to be obtflined, used, or disclosed extend~ to and includes 1hc
ve.rblllllt wcll11s the >witten nnd is spcuilkH IIy described M n)Jlows:

      ·1. fhc loe.allh information in th<: cu!otody of the following physicians ot henltb Cl\rc provirlf.>.cs
who have examined, ev~hoatcd or !rented ~MANDA Ql.);~n;N io1 conn~ction with Ill<> injuries
;ollcCI•d to hav.; been suslaincd in connect ion with t he cl1oim us~~rlod in the nccoonpaotying Notice
oJ· Jlcnllh Care Claim:
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    ,,     Any 3nd ull    phy~ici1ons   and l lcAii bcare Providers at DTc...~161U~_t l nN DEJ~<)P-), JQ21
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    o     AJl)'   ancl "" pllysicinn~ and HcallhC<~re Providers a! l lS.ILJ~.{I_O WAU,M.:~...llL'~.Q,
          A M tjl\ II ,!.D.•.Tl\,l{AS.'/919:.1.
Thos authorizat ion shall extend to any mldi liona l physicians or hca lltl c~rc pruvidcrs that onay in the
futmc cvaln;olu, cxanoinc, 01 treat AMA!Iil>A OUi'.<ii•:N for injuries nllegcd in connccliou with th"
ciH•m made the hnsis oflbc nunchod No lice of Health Care Claim;

     tl. The health infonn"tion in the cn.W>dy of the following )Jhysicians or health care prov iders
who '"'"c examined, cvaluuted or tre<otcd AMAN\!,~_Oa.•:o~Jr.N_dm·ing a period commencing five
Yl''"~ Jll'ior to the incident mnclc tl~e ba.•i~ of the ace<>mpanyiup, Notice of Heath Care Claim arc:

    ••    i\ny nnd :oil phxsici:u1s nnd llea l thc~nro J'rovi<lcrs >tl l'liM.J.'b ~R GQJD~AL.MJ:iDJ.QJ\1.,
          .Pi\\f11-:H,_l_)VIJiT2i£:Al, l'l.AZ.6~l'Al\11:1\,]Ji/(i\.SJ 1)06:\.,

          Any nod al.l physicians and I lcnlllK'<11C l'tovidl)l-s at DR._MAR.K       llli~DP.R~.       3_021
          !'!;:.R!Q'TQl::LM!ii&..W.AY S\JJJ]\ !QL P.A..M.I'Lh.JI\X.1.,';L12.Q1i?.

    "
    o     Any ao~d all physic inns and Hcnltlocarc l'mv odco~ at
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C. bcluded llcndt lu.fonun1mn Ute following constitute.; a list of phy1;icinns or health care
prvVIIkrs J>osst•ssiug henlth c:u·e inJ<wmntion conctrn ing AM~ B)A Qif.l!:SC•,N_Lo wh ich this
an tltorization do<:s not apply becaHsc I COitlcnd that such health c~··c information i" not t'<>lCV>ltlt to
tiJc dam~gcs be. in!( claimed 0 1 tlt~ phystcal, mcnt·at, or emotional condition of A'MIANDA OI,RSEN
at i<~ng out of the claim n~;ul~ the oosts of the aCC<llllJ~IIIYing Notice of llcalih"(:S.,c ClaimN;;;;-

        lf). Th~: pco$t>ns o.r d<tr,,, of fJ('I'$OIIS f o whom Ihc .hc>t HIt inItJt'lllH\ion o:f AlWANlM Ol..J•:Slf~N
will h~ disclosed or who willtmtke u~e of s;lid inf01 ntlllion are:                             --····------

          I. Any 1111d all physicians or hca!th care provider>; ptoviding enre or tr<'-(o~nent to
             ~Mill. ~lM OJ!,F.~~~;

         2. 1\uy liahili!y ius111nncc entity providing ti·tbihty iusunuoce covcmge or defl'ltse to any
Jlhysicilon or health care l)lOVHlc• oo whom Notice of) l"'1ltlo (:t.re (.;Jaim has been ~ivcn with oCf\31-cl
to rho cru·e iUtcllr~utmcnt ofA!!:1A:It'JI&).__Q!.l1J!iliF.J.':!;

           :1. Any ounsulling or tesrilyi <lg cx.pcr!s employed by or on hchalf of ·----- _
__ _         ___ __ --------            ___ . __               __ _ _   _ _ __ w1th regard to-- the
mutlco   ~:.1 out in the Notice ofllcalih Ca1c Claim accompanying this auihorit.a!ion;

          4. Any Worncy.~ (iu~ludingsccrc!nl'inl, ckricnl or ploralcga l "t1•fl) employed by or o n behaJf
of       _____       __               _ __                      __         _ __ __           ___          _
 ___ . _ __ _ _ _          _ _ __ _ ___ ...-- ------with regard fo th<> mntkr set ouf
m the Notice o(f !elllilt Cat" Claim :.<:companying thrs authori7J'lticm;

         S. Any tliet· nfthc l;•w ot filc.t'so·clllting 1.(> any ~uil li!cd sed<ingdamil(t<•s arising o ut of the
oucdicul CHrc ,,,. trcalmcnt of    _ __ _

    K This ant hol'i1.al'lon shuII t:xpirc upt'n msolnloon of the c)~ in• osse1ted or nt thc conchtl<ion of
any li tigation in.~l'itu!cd in connection wirh the sul ~j~cl maucr or rhc 1'-loticc or (Jc:llth C<n'll Claim
acco111pnnying this mothorizntiool, wbichcveo occur~ sooneo·.

     ~~- 1 tmdcrst!md that, without exceptiOJl, Thave tlt~ right to revoke this anthorizat.ion in writing.
I furtllc•· undcr$1:wd tit.; l!OIISC<JLleucc of <IllY such revocation Its ~ct our in Sot:liml 74.05?., Civil
Pm.:ti<:c nnd R3cttJcdics Code.

     G. I undcn~tnnd thaf·fhe ~igning of this nutltt>riz<~\i()n is not a con<lirion for cont inued !1cutmen1,
p~tyttwnf, enroll~tu;nt , eligibi lity for health pl:on benc(i(o.


     ll. I undcrstnu,lthat in fonll~tion ust'<i o r disclosed plli~uaut to this nutboo i;.alion may be subject
lo rechsclosurc by lhe tcciptcnt and '""Y no Jonr.:er be protect~d by federal Hli'l>.i\ privacy
, egulaf ions .
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Case 2:17-cv-00128-M Document 1-2 Filed 07/19/17                            Page 63 of 102 PageID 70




                                                                            ..            .. .
                  D Complete llC~m 1, 2, ond 3.
                  m P(,nt your numu and address on 1he roverso
                       so that wo van roturn the on.rd to you.       ·
                  Ji,l Attach this Olll'd to th& hock of tho mal!ploco,
                       or ol"l tho rror'lt If opnco perrr:lts.
                  f, ,\rUr.la Ad;,t;.;;;;Jto:          ·- - - · -·--··--·
                  f{ICW \( j'. l!l:'vt\ \':1'3'()YI
                  Po..Y'I\f)O, 1~..ewo·1\t.\1 C.vr-''·' Y-'
                 ~?01. 3 fNvy ·lllV\ ·~Av\(...._;tA}I1 ftfiOl
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                                                  u r,, •!lied 1.111.1 S•t•'lh'O It IJ<>: :w~Utllln lflf                             fO~t j,~ lhll ~!J!Ieto ~he Ill (ll;nl 2 I w:nJ ~~ Utili
                                                     lul\ltl+hlif11YI ••mi.                                                          1!+111'Yllo~•h·$•fellllryt) l!nt frk.-O!Itt:05111'""i)!l
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                                "'S"IO '11103
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               l'LAIN'fll?F'S TIIRST AMENDED l'ETITION
                                Exhibit " ll"
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                                                     November 21, 2016



           Via CMRR.R 1!!!~. 152(! 0001 84512~?.
           l'ampa Regional Meuie<~l Center
           /\t1 n: Risk Mrulagcrncnl
           I Medical PllY£a
           l 'mnr~~. Texas 79065




                     Re: AmaU<Ia   Ole~cn
                     Date oflncidenl: November 2015
           Defll' Doctor He.mlcr~on:

                 (haw bccn consul ted by Amanda Olesen for Ihe purpose of pttrsuing a henli hcarc liability
          cloim ag:1 inst l'ampll Rcgi<~luoU Medical Ccat~4"'• arising i'rmn your care and trcal ment of her in
          Nnvcmher 2015 al Pampa Rc.giomtl Medical Center.

                   On the basis of lhc information furnished w me by my client and wy invcstigaliott mtd
          research, l have determined that U1e1'C arc more than t<:asonable grounds to believe lhut the above-
          named client has a viable hcalthcarc liability claim against you :and/or yotJr, agents, officers,
          servants, ostensible ageniS, employees, corporation, pat1nership, professionnl association, other
          a~sociote<l entity, nt1rscs, doctors und surgicaltcclmicians. Tho basis oftb.is claim is that all <>rpa11:of
          1\mun<la Olesen's append ix wt.tS not removed during her app<mdectomy surgery at P:1mpa. J~egioJial
          Jvfedical Center. Dr. lv1al'l<l lenderson p<:rfonncd tht' surgery. This failure resulted in il1(eclion and nn
          "ddi·tional surgery wh ich wus per[ormcd at HSi\ ho~pi l nl in Amarillo, Tc.:xns.
                     Notice: Pur~u~u1l to Tcx<ts Civil Practice aud Ronwclies Code §74.05 l, notice is ltercbygiven
          to U'tttnJHl ltegion :.~A M~:dical Center, its ageuts, officers, servant~. ostensible agenls, employees,
          corpornlion, partnership, profcs.~ional 9l>Sociation, or other us~ociated entities.

                     Enclosed is a signed /\uthori7.alion Fotm {(,r Release of Protected Health Information
          provided to you pursual1t to Tex. Civ. Prac. Rern. Cod~ §74.052 as well as u HIT' I' A ~ utilori:r.ation for
          Ihe relc.as<.:> oftlle records and information.

                    p~,r~uant
                           t:o Section 24 1.I 03(c) of' the Texas Hcu llh uud .Safety Code ttnd Ortega v. Trevino,
          M.D., 9:18 S.W.2d 2 19 (Tex. i\pp.--Corpus Cluisli Jat .l. 30, 1997, n.w.h.) regard ing ~poliation of
          evidence, I request that the complete fJ.!e and/or char! 1md all of its c.>n!<.:nts including the enti re
          medical and billing records. photographs, memoranda, concspondencc, phone notes, imaging
          studies, radiology studies, x-rays, tissue specimens, biop~y specimens, and other diognostic testing
          materials of Amanda Olesen, be maintained in their original condition.


\li.IN(; /1.[)1)111~S:                            HOJ S. f i!lmorr., Suil<! 460                         AMA RILLO, TEXAS 79{ 0)

                                                                                                             FAX   (806) 352   0()'/;1
        Case 2:17-cv-00128-M Document 1-2 Filed 07/19/17                                    Page 67 of 102 PageID 74
Pa111pa Regional Medical Center
Novt:mhcr ?.I, 2016
Pug<: 2


          I r.:commcnd that you send copies of this letter, to your professional li<tbility instnunce
canicr, <\skine them to contact me as soon a~ pos~iblc. Under no eirc\lmstaocc~ do we wish to
in~t itulc 0r prosecute an unf:ll\mdod or tmnecess:ory medica l negligence claim. We have reached Ute
conclusions SIOICd above atler reviewing th~ records and af!Cr having had <1 h0<tlthcnre provider
review thc.~c records and giw us 11 preliminory opinion. This opinion is based upon 1ltc lil1:ts as
outlined in the medical records, <Uld any .facts or circumsl!lnc:cs not rc..>flectccl in those record~ would,
:t.~" COJlSCttu<mcc, not be considered at litis time. Thcrcl.o i'C, if you arc aware of other lbcts th~ t
wotlld shed fldd itionnl light o.n the cnrc of !he pat ient, plc<~s..: advise ~1s through your a Horney or
liability insurance emric:r.

       ! look lorward to hearing fh)m y()u, your atlorncy or your liability insuran~ Clltricr in lhc
very ncar future.

                                                              Sin.:crcly,
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                                                                             /
                                                              Jesse Quackenbush,
                                                              Allorney




.IQ/cllw
Enclosurt~:   Ch. 7'1 Med ic<tl Authorizulion
cc:        Arnanda Olesen
         Case 2:17-cv-00128-M Document 1-2 Filed 07/19/17                                        Page 68 of 102 PageID 75



                         t~ lfJ'II'gQlRJZ.\'l'll{J.N Y.!'~~]'J:Ml ~:91~ llli_l)Al;.~_SD~ 0~.
                              fJ~O!n<:cn_a) m~A ~;rJH nNJ.'QRlV!llJ!Ql~
                                    'f<.)Y:. <C!_y_.)'n·:~c... [tcn\. ('Q.<!ie §7_4.0?1

           A. 1., /,M,!_~I.tA. O.LIFo',iJfo:N hereby authorize ,tAJI.fll'A _JR.~0!;!0l\!.£\,lh..l\Jil'FJ!l~f;J\l~
5;,g~.rf.D.'!!! to obtai n ond di~close (withitl the par;~tMI.~rs sc( on( below) 'the protected health
IOlOntliltJ<)ll <ies<;nb<:d b<\low fot Lhe followmg spcctl·1c p111'J)Oscs:

    I. To Jilciliwte the invest.ig:uion and <:valt1atiou of the hcnltll c.ne claim de-scribed in                       tiH)
accompanying Notice ofHcoltlt Care Claim; or

    2. lkfeMc of any litigat ion arising otrl or the claim t11adc basi~ of the accompanyi11g Noti<\C of
Hcr<JIJ> Care Cl~ ill'l .

         .0.. The hea\0 1infonnaf.ion to l.>c obtained, used, or disclo~rcd extends t.o              ~JI(I   inch1de:; ll1e
verba l as well as U1c written ano is speci fically described as follows:

    J. 11•e hea lfJ> information in the custody ar the lbilowing physicians or health care providers
who ha.ve examined, cvahtntcd or treated ,1-.r1.N':lPA.Q[.~~f'!!;N.. in col\nccf:ion with the injuries
alleged to lmv0 been sustained in conuccliou win• lhc cla im nsscJicd in the 11ccompanying Notice
olTicaltb Care Oaim:
    •    J\ny anti all physici<ms and H<lalthcarc J'nwidcr~ a l f(\_ly[l-'1\_RJ;_CJJQNA!:,                   i\,.1JlQ!£:.M.,
         rm:HJlR,   lJv1l~PICAL .l~l-<t1?Jl,l'&MP,:\...JiiX.! \l> 7/JQ.Q:i,

    o    Ally nnd all physicians and Hea l!hcarc l'rovidcrs ;l l J}J~ .J\1t~Kl~ l' lEI':,!flJ;RSOb~ 30X3
         J>nR.~Y.I9N.J'AHK W./tY.. S.f.JJifJJQj_.J~t...Mi!f\, 'f!:iM~ 79Jl.Q~




This fluthori·t.alion shall c~t.ClJd 10 any additional.physiciam Ol' hcall·h care provkl<:rs llwl JM.Y in the
fillurc evalt>atc, ex;1mine, or trt,al AMA]illtA__OlL!WW~NJor inj\1rics ''llcgcd in connection with the
dnim 111<1de the basis of the ~tl:tachcd Notice off lcalth Care Cla im;

    4. The heRith information in the. c ustody ofth<' following physicians or h.:alth care provider~
who have cxMn incd, <Walu~tcd or lrcated ~\.P4,AI'i!]f>A. 01!,-E~~c;~_<hll'ing, n period commencing five
yc~rs prior to the inc.ident made liw basis ol' tlw accomp1•nyi"g Notice ofl·{Ml:l\ Cnrc Claim are.:

    0    Any and all physicians and 1-l.cnJ\hcare I'rov idcrs at PA!Yl!:'l:L!Ul.Ql01'1A1)v\!:::_QlPAl<
         CJ~)'f[n~~ ..UY.!:fkP1C.6!, t    L.b. 1-!.kPt.\M_~A.•JJ..iXA~. 7_'21)65.

         ~/Jf'u.~...-..-·-
         !.,.   ~~~~-~~         lf!X~[(\~~\ v"~}j\~rl~ 1o~cr!;{):~{;~·~r)3~~~-7~~~~K
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                                                                                                 l-JJJ~.P.ERSON•.3021
    ()




    <>   Any and all physicians Hn<.l JlcallhcaJ'CProviders al ... ..... .
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C . .nxclrut<:d Hcilll1 ln[ormation··--the (ollowing constitutes iL list. of physkiruts or health care
providers possessing hea lth C/1re i ufi.>rm<~tiou conceroi ng 1~I:;JL~Nl04._Q1J!illW:N_to which 1:1tis
n.u thotizution docs not. !lpp!y bccaust: 1 cC>ntend that S\ldt hea lth·c.are info.m wtion is not relt:vant. to
t.he damages being <.:!aimed or the plwsic<d, monta l, or emotiona l cortd it iolt of _f!l'ill<\flll),\
9).,Y.;SJ~!i_arising <>Ill <•f tho c\,im mact<: tl•c h~1sis of t·hc nccompauying Notice of Health Car<:
Cl<ohn: None

          f}. 'll1e p ersons or class of persons to who111 1Ju:: Jwa Uh informf•tiOit of ~M~!:!Jf.M. OlLlf@~_:.f
will[>(: disclosed or who will rn~ke use of s"id infC>nna(ion are:

            I. A1ry aJHI all    phy~icians    or hea lth ca•·e providers provid ing care or treatment to
                AJ:I1.ANID>A O.U~~;

          2. Any Linl>ility insurance entity Jli'OViding finbilily ill~nrance covcJ'~gc or dcl.cnso t:o any
physici<ln or hea rth care provider 1.0 whom NoHce of He.~ Jth Care CJairu has been given with rcgnrd
to tl1c care ~nd txcatmGllt of &.MAl''l!P.~_OLl\:r,t~~;

            J. Any con~ulting or lc:lti Cyin~ ex perfs employed by or 0 11 b(>hHI(' of -
                                                                                   ·-- - · -- -.. ...
................- ..·--·-·- ·· ·-··---~ -·---- .. ··--... .. . ...
                                                                 ..--·-------·-with fl'&Md to the
miltter se:t: out in the Notice of Hcn.Ul.t Care Cl~hn accompanyiog th is author.i?.ation;

            4. t\ny lll'lorneys (including se-cretarial, cletica l or parak.gaJI;taCJ) ~mploycd by or onl>ehuli
of.
__in--·--.  .-· . . . .- ---..·----~:=_.:_:_-=_·:_~=.--:::~::-:-·-:.~.-.-.-:·;;:,l[l)' rcnar;t to'iilci-nau:Cr ~ct out
     tJu, No tice ofl·Ienlth Care Cil1im accompanyi ng thi s allthori:mtioll;

        5. i\ny IJ'ier of the l<tw or il•<:ls relating to any suit ·fi led s,,eking cla111ages arising out of the
JUedical care or trentmenl of.... - ...... ----.·-          -----· .. ·- · - -.. --.. ·-·--...... _ .___

    'Ji;, Thi~ 1111thod%::<tiou shall cxpin> upon resolution of the (:!aim nsserted or at the conclusion of
any litigaiJOII inslltuted in conncct.ion with the subject matter of the Notice <>fHca lth Care Clnim
ilccompnnying this m1thor.izati0 11, whichever occurs sonner.

      fi'. I undc:r.~l.a•>d that, without t;l(Ct:ption, I have the right to revoke this a\Jtllori7.nt ion in \Witing.
 ·ftll'lher unctcrstlmd the consequence of any such rcvoc;llicm a.~ set oul in Section 7'1.052, C ivil
Prlt(\licc and RJcmcdic.s Code.

   <>. lundcrstnn<l that the sign ing ofthis authodz.aHon is not a wndilion for continued treatment,
paymcut., enrolhncnl, eligil>ilily for he;llih plan bel)cfits.

       nn. l understand i:ha.t infonJtatiou used or disclosed pursuant to this authori'?.ation may be subject
to    red i~dOSilrc   oy the recipient and may no longcl' he protect'<:d by             t\~d10nd   HlPPA privacy
rcg,ulntions.
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        Case 2:17-cv-00128-M Document 1-2 Filed 07/19/17                                 Page 71 of 102 PageID 78



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           4. Any attorneys (including st~.:retariid, clerical or paralegal stafJ) employ~~~ by or on behalf




          5. Any trier of the law or facts relating to any suit fi led seeking dmM{;t>s ~risiug 0 \ 11 of the
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            EXHIBIT B-10
            Case 2:17-cv-00128-M Document 1-2 Filed 07/19/17                       Page 77 of 102 PageID 84
                                                                                            Filed 6/20/2017 2:52 PM
                                                                                            JoMays
                                                                                            District Clerk
                                                                                            Gray County, Texas
                                                                                            Reviewed By: O'Leen Bennett
                                                                                                                          oY
                                           REQUEST FOR ISSUANCE
 CAUSE NUMBER: 38783

 TYPE OF ISSUANCE: *IF E-FILING-YOU MUST SELECT REQUEST FOR ISSUANCE
 AND THEN SELECT THE TYPE OF ISSUANCE AND TYPE OF SERVICE*
 J8T   CITATION
 0     PRECEPT
 D     TR.O
 0     PROTECTIVE ORDER
 0     ABSTRACT OF JUDGMENT
 0     WRIT OF EXECUTION
 D     OTHER:--- - - - - - - -

. TYPE OF SERVICE:
  0 POTTER COUNTY SHERIFF
  0 CIVIL PROCESS SERVER~AUTHORlZED PERSON TO PICK-UP: _ __
  0 POSTING
 D PUBLICATION
 ~ CERTIFIED MAIL
 0 TO BE EMAILED TO PARTY REQUESTING SERVICE-MUST INCLUDE E'MAIL ADDRESS: jessicnnill.!@ru.illll.h£Q!n_

 TITLE OF DOCUMENT: Plaintiff's First Amended Petition
 FOR EACH /'ARTY SERVED YOU MUST FURN/Sl/11/E APPROPRIATE NUMBE/l OF COPIES OF THE DOCUMENT TO
 BE SERVED/OR IF E-FILING- MUST ASSESS COPY FEES FOR TilE DOCUMENT


 FILE MARKED DATE OF DOCUMENT TO BE SERVED:                                            I   ~--
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 PARTY TO BE SERVED: (PLEASEFILLOUJ'ANEWRBQUESTFORMPERPARTYTOBESERVED)
 NAME: Prime Healthcare Foundation, Inc. d.b.a Pampa Regipnal Medical Center

 ADDRESS: I Medical Plaza, Pampa, Texas 79065

 AGENT, IF APPLICABLE: Brad Moore

 PARTY/ATTORNEY REQUESTING SERVICE:
 NAME: Jesse Quackenbush I Quackenbush Law Firm

 MAJLING ADDRESS:      SOI.~outh   Fill!.rtore, Suite 460, Amarillo, Texas 79101

 PHONE NUMBER: 806-374-4024              FAX NUMBER: 806-352-0073
Case 2:17-cv-00128-M Document 1-2 Filed 07/19/17   Page 78 of 102 PageID 85




            EXHIBIT B-11
            Case 2:17-cv-00128-M Document 1-2 Filed 07/19/17            Page 79 of 102 PageID 86


                                                JO MAYS
                                            DISTRICT CLERK
                                             GRAY COUNTY
                                             P.O. BOX 1139
                                          PAMPA, TX 79066-1139
                                              806 669-8010


                                                June 20, 2017

 PRIME HEALTHCARE FOUNDATION, INC.
 D/B/A PAMPA REGIONAL MEDICAL CENTER
 BY SERVING ITS REGISTERED AGENT,
 BRAD MOORE
 1 MEDICAL PLAZA
 PAMPA, TX 79065


                                                      Re:     Cause:38783
                                                              AMANDA OLESEN
                                                              VS.
                                                              PRIME HEALTHCARE
                                                              FOUNDATION, INC. D/B/A
                                                              PAMPA REGIONAL MEDICAL CENTER AND
                                                              MARKS. HENDERSON, MD


CERTIFIED MAIL

Dear Sir:

You are hereby served with the enclosed Citation by Certified Mail.




                                                        Sincerely,




                                                        Jo Mays
                                                        District Clerk
                                                        223RD DISTRICT COURT


                                                        By:(.~
                                                            O'LEEN B NNETT, DEPUTY

Enclosure
Certified Receipt Number: 7014 2120 0000 2068 4203
          Case 2:17-cv-00128-M Document 1-2 Filed 07/19/17 Page 80 of 102 PageID 87
                             CITATION - personal service - TRC 99

 AMANDA OLESEN                                                    Cause No: 38783
 vs.                                                              IN THE 223RD DISTRICT COURT
 PRIME HEALTHCARE FOUNDATION, INC. D/B/A                          OF GRAY COUNTY, TEXAS
 PAMPA REGIONAL MEDICAL CENTER AND
 MARKS. HENDERSON, MD


TO: PRIME HEALTCARE FOUNDATION, INC. D/B/A PAMPA REGIONAL MEDICAL CENTER, BY
SERVING ITS REGISTERED AGENT, BRAD MOORE, 1 MEDICAL PLAZA, PAMPA, TX 79065, Defendant-
GREETING
NOTICE TO DEFENDANT: "You have been sued. You may employ an attorney. If you or your attorney
do not file a written answer with the clerk who issued this citation by 10:00 A.M. on the Monday next
following the expiration of 20 days after the date you were served this citation and petition, a default
judgment may be taken against you."
You are hereby commanded to appear by filing a written answer to the 1st Amended Petition at or before 10:00 A.M. of
the Monday next after the expiration of 20 days after the date of service of this citation before the Honorable 223RD
DISTRICT COURT of Gray County, at the Courthouse in said County in Pampa, Texas. Said 1st Amended Petition was
filed in said court on the 20th day of June, 2017 in the above entitled cause.
The nature of demand is fully shown by a true and correct copy of Plaintiffs 1st Amended Petition accompanying this
citation and made a part hereof.        ·
ISSUED AND GIVEN UNDER MY HAND AND SEAL OF SAID COURT AT Pampa, Tx 79066-1139, ON THIS THE 2oth
day of June, 2017.
 ATTORNEY REQUESTING:
 JESSEL.QUACKENBUSH
 801 S. FILLMORE ST., STE. 460
 AMARILLO, TX 79109
Case 2:17-cv-00128-M Document 1-2 Filed 07/19/17   Page 81 of 102 PageID 88




            EXHIBIT B-12
            Case 2:17-cv-00128-M Document 1-2 Filed 07/19/17 Page 82 of 102 PageID 89
                               CITATION- personal service- TRC 99
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 AMANDA OLESEN                                                           Cause No: 38783        (s                        :::0
 vs.                                                                     IN THE 223RD DISTR CT C£lU                       2<
 PRIME HEALTHCARE FOUNDATION, INC. D/B/A                                 OF GRAY COUNTY, EX~                              0
 PAMPA REGIONAL MEDICAL CENTER AND                                                                                        011
 MARKS. HENDERSON, MD                                                                                                     ~~~
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TO: PRIME HEALTCARE FOUNDATION, INC. D/B/A PAMPA REGIONAL MEDICM C~T                                                    BYi11
SERVING ITS REGISTERED AGENT, BRAD MOORE, 1 MEDICAL PLAZA, PAM~ TX'79                                                   D~ndant­
GREETING                                                      . -:::!                                                    (f)

NOTICE TO DEFENDANT: "You have been sued. You may employ an attorney. If you             your attorney
do not file a written answer with the clerk who issued this citation by 10:00 A.M. on     Monday next
following the expiration of 20 days after the date you were served this citation and poT•T•nn, a default
judgment may be taken against you."
You are hereby commanded to appear by filing a written answer to the 1st Amended Petition at or befo
the Monday next after the expiration of 20 days after the date of service of this citation before the .... "."""'n'""
DISTRICT COURT of Gray County, at the Courthouse in said County in Pampa, Texas. Said 1st
filed in said court on the 20th day of June, 2017 in the above entitled cause.
The nature of demand is fully shown by a true and correct copy of Plaintiffs 1st Amended Petition                        nying this
citation and made a part hereof.
ISSUED AND GIVEN UNDER MY HAND AND SEAL OF SAID COURT AT Pampa, Tx 79066-1139, 0                                   THIS THE 20th
day of June, 2017.
 ATTORNEY REQUESTING:                              Jo Mays, District Clerk
                                                   223RD DISTRICT COURT
 JESSEL.QUACKENBUSH                                Gray County
 801 S. FILLMORE ST., STE. 460                     P.O. Box 1139
 AMARILLO, TX 79109                                205 N. Russell Street
                                                   Pampa              139




                                  CERTIFICATE OF DELIVERY BY CERTIFIED MAIL
 Came to hand on the 20th day of June, 2017 at 2:52 o'clock PM and executed the 20th day of June, 20 7 by mailing
 to defendan PRIME HEALTCARE FOUNDA           INC. D/B/A PAMPA REGIONAL MEDICAL          BY SERVING ITS
 BRAD MOORE, 1 MEDICAL PLAZA, PAMPA. TX 79065 by certified mail, return receipt requested, a true copy of
 copy of the petition to the following address:
    PRIME HEALTCARE FOUNDATION, INC. D/B/A PAMPA REGIONAL MEDICAL CENTER, 1 ME
                                                      PAMPA, TX 79065




 Fees ........... $108.00
       Case 2:17-cv-00128-M Document 1-2 Filed 07/19/17                                                                                   Page 83 of 102 PageID 90




                                                                                                                  COMPLETE THIS SECTION ON DELIVERY
                   . SENDER: COMPLETE THIS SECTION                                                        .

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            EXHIBIT B-13
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                                                                           District Clerk
                                                                           Gray County, Texas
                                                                           Reviewed By: Brenda Amador

                                      CAUSE NO. 38783

AMANDA OLESEN,                                 §          IN THE DISTRICT COURT
                                               §
       Plaintiff,                              §
                                               §
vs.                                            §
                                               §          GRAY COUNTY, TEXAS
PRIME HEALTHCARE                               §
FOUNDATION, INC. d/b/a                         §
PAMPA REGIONAL MEDICAL CENTER;                 §
and MARK S. HENDERSON, M.D.,                   §
                                               §
       Defendants.                             §          223RD JUDICIAL DISTRICT


                  DEFENDANT MARK S. HENDERSON, M.D.’S
              ORIGINAL ANSWER AND REQUEST FOR DISCLOSURE


TO THE HONORABLE COURT:

       Defendant Mark S. Henderson, M.D. (“Dr. Henderson”) files this Original Answer

and Request for Disclosure to Plaintiff’s First Amended Petition as follows:

        1.     Dr. Henderson denies each and every, all and singular, the material

 allegations, factual recitations, theories, and opinions contained in Plaintiff’s First Amended

 Petition (or most current petition on file) and demands strict proof at the time of trial in

 accordance with the Texas Rules of Civil Procedure.

       2.      Dr. Henderson specifically denies that he was in any way negligent with

respect to any alleged duty owed to Plaintiff, or that any of his conduct proximately caused

any of Plaintiff’s alleged injuries. Dr. Henderson alleges that all treatment provided to

Plaintiff by Dr. Henderson conformed at all times and in all aspects to the applicable

standard of care.




DEFENDANT MARK S. HENDERSON, M.D.’S
ORIGINAL ANSWER AND REQUEST FOR DISCLOSURE                                                Page 1
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       3.     Pleading affirmatively, Dr. Henderson alleges that Plaintiff’s claims are barred

in whole or in part to the extent any alleged injuries, damages, or liabilities complained of by

Plaintiff are the result, in whole or in part, of an unavoidable accident beyond the control of

Dr. Henderson, without any negligence on the part of Dr. Henderson, and are not the result of

any act or omission on the part of Dr. Henderson.

       4.     Pleading affirmatively, Dr. Henderson alleges that Plaintiff’s claims are barred

in whole or in part to the extent any injuries, damages, or liabilities complained of by

Plaintiff were solely proximately caused and/or proximately caused by new and independent

intervening causes not reasonably foreseeable by Dr. Henderson, which became the

immediate and efficient causes of Plaintiff’s alleged injuries and damages, and any acts or

omissions alleged by Plaintiff as to Dr. Henderson were wholly remote and not causative of

Plaintiff’s alleged injuries or damages.

       5.     Pleading affirmatively, Dr. Henderson alleges that Plaintiff’s claims are barred

in whole or in part to the extent any injuries, damages, or liabilities complained of by

Plaintiff were solely proximately caused and/or proximately caused by superseding and/or

intervening acts which disrupted the chain of causation and were wholly beyond the scope

and/or control of Dr. Henderson.

       6.     Pleading affirmatively and in the alternative, Dr. Henderson alleges any

injuries, damages, or liabilities complained of by Plaintiff were solely proximately caused

and/or proximately caused by the pre-existing injuries, diseases, or conditions of Plaintiff.

       7.     Dr. Henderson further pleads that Plaintiff’s claims are barred in whole or in

part to the extent that the contributory negligence and/or comparative negligence of Plaintiff



DEFENDANT MARK S. HENDERSON, M.D.’S
ORIGINAL ANSWER AND REQUEST FOR DISCLOSURE                                                Page 2
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proximately caused any actual or alleged injuries, damages, or liabilities complained of by

Plaintiff, in whole or in part.

       8.      Pleading affirmatively and in the alternative, Dr. Henderson alleges that

Plaintiff’s claims are barred in whole or in part to the extent any injuries, damages, or

liabilities complained of by Plaintiff were solely proximately caused and/or proximately

caused by acts or occurrences prior to and/or separate from Plaintiff’s care by Dr. Henderson,

which were wholly beyond the scope and/or control of Dr. Henderson and which were not

caused by any act or omission by Dr. Henderson.

       9.      Pleading affirmatively, Dr. Henderson alleges that Plaintiff’s claims are barred

in whole or in part to the extent any injuries, damages, or liabilities complained of by

Plaintiff were solely proximately caused and/or proximately caused in whole or in part by the

acts and/or omissions of parties over whom Dr. Henderson had no control and/or right to

control, including but not limited to any other defendants named in this lawsuit.

       10.     Dr. Henderson specifically invokes and asserts all rights to contribution and/or

indemnity, as well as any other appropriate relief available, including but not limited to any

such rights against co-defendants and settling defendants, if any, under Chapters 32 and 33 of

the Texas Civil Practice and Remedies Code (the “Code”) (including without limitation

Sections 33.015 and 33.016), as well as any other applicable provision of statutory, common,

or other law applicable to this case.

       11.     Pleading affirmatively, if Plaintiff compromises or settles any claims and/or

causes of action against any other person or entity, Dr. Henderson hereby invokes and asserts

the right and option granted to his to receive a credit, a percentage reduction, or any other



DEFENDANT MARK S. HENDERSON, M.D.’S
ORIGINAL ANSWER AND REQUEST FOR DISCLOSURE                                               Page 3
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appropriate relief with respect to such settlement in accordance with Chapter 33 (specifically

without limitation Section 33.012) of the Code, as well as any other applicable provision of

statutory, common, or other law applicable to this case. This pleading does not constitute an

election. Such election, if required, will be made at an appropriate time.

       12.     Dr. Henderson pleads, preserves, invokes, and asserts the right to submit the

percentage of responsibility, if any, of any settling person or any responsible third party to

the trier of fact, including without limitation any other defendant named in any of Plaintiff’s

petitions who are dismissed by Plaintiff or the Court, or for whatever other reason are no

longer parties at the time of submission to the trier of fact, for determination under

Section 33.003 of the Code, as well as under any other applicable provision of statutory,

common, or other law. Dr. Henderson further reserves the right to add or designate any and

all responsible third parties as investigation and discovery reveals additional facts.

       13.     In addition and in the alternative, Dr. Henderson specifically pleads, preserves,

invokes, and asserts his rights under Section 33.004 of the Code, as well as any other

applicable provision of statutory, common, or other law applicable to this case, as to any

other defendants named in any of Plaintiff’s petitions who are dismissed by Plaintiff or the

Court prior to the time of submission to the trier of fact, and against any other person or party

who is or may be liable to Plaintiff or to any defendant for all or part of the damages claimed

against Dr. Henderson in this case. Dr. Henderson further reserves the right to add or

designate any and all responsible third parties as investigation and discovery reveals

additional facts.




DEFENDANT MARK S. HENDERSON, M.D.’S
ORIGINAL ANSWER AND REQUEST FOR DISCLOSURE                                                 Page 4
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       14.     Pleading affirmatively, Dr. Henderson pleads all defenses, procedures, and

applicable limitations of liability and damage provisions under Texas law, including without

limitation Chapter 74 (specifically without limitation Sections 74.301, 74.302, 74.303, and

74.501-.507) of the Code and Chapter 18 of the Code, as well as any other applicable

limitation of liability and damage provision of statutory, common, or other law applicable to

this case. Accordingly, Dr. Henderson requests this Court to impose any and all limitations

on any verdict that might be rendered at the trial of this cause.

       15.     Dr. Henderson affirmatively invokes and asserts that the jury instructions

contained in Section 74.303(e)(1) and (2) of the Code should be included in the Court’s

charge to the jury in this case.

       16.     Pleading affirmatively, Dr. Henderson pleads the applicable limitations of,

and/or bars on, pre-judgment and post-judgment interest provisions in Texas Finance Code

Chapters 304 and 604 and any other applicable provision of statutory, common, or other law

applicable to this case, and requests this Court to impose all applicable limitations or bars on

any pre-judgment or post-judgment interest that might be awarded at the trial of this case.

       17.     Dr. Henderson pleads, preserves, invokes, and asserts the right to limit

Plaintiff’s claims for economic damages in accordance with Section 41.0105 of the Code,

which limits Plaintiff’s recovery of medical or health care expenses to the amount of

reasonable and necessary expenses that were actually paid or incurred, and requests this

Court to impose all applicable limitations or bars on any such damages that might be

awarded at the trial of this case, including without limitation requiring Plaintiff to segregate

all amounts not permitted to be recovered under Section 41.0105 of the Code, which includes



DEFENDANT MARK S. HENDERSON, M.D.’S
ORIGINAL ANSWER AND REQUEST FOR DISCLOSURE                                                Page 5
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without limitation all amounts not paid or incurred and any amounts written off or reduced

by or on behalf of any healthcare provider. Dr. Henderson further pleads, preserves, invokes,

and asserts the right to limit Plaintiff’s claims for economic damages because of Plaintiff’s

failure to substantiate claims with required evidence or testimony pursuant to the Texas

Rules of Civil Procedure and the orders of this Court.

        18.   Dr. Henderson reserves the right to correct, amend, and supplement this

answer.

                                       Request for Disclosure

        Pursuant to Rule 194 of the Texas Rules of Civil Procedure, Plaintiff is requested to

disclose, within 30 days of service of this request, the information or material described in

Rule 194.2.



       WHEREFORE, Defendant Mark S. Henderson, M.D. prays that upon final hearing,

judgment be entered that Plaintiff take nothing and that Dr. Henderson recover his reasonable

and necessary attorneys’ fees, Court costs, other expenses, and such other and further relief

to which he may show himself to be justly entitled.




DEFENDANT MARK S. HENDERSON, M.D.’S
ORIGINAL ANSWER AND REQUEST FOR DISCLOSURE                                             Page 6
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                                              Respectfully submitted,



                                                      /s/ Rodney H. Lawson
                                              RODNEY H. LAWSON
                                               Texas State Bar No. 12059700
                                               Email: rlawson@ccsb.com
                                              DEBRÁN L. O’NEIL
                                               Texas State Bar No. 24083497
                                               Email: doneil@ccsb.com
                                              CARRINGTON, COLEMAN, SLOMAN
                                               & BLUMENTHAL, L.L.P.
                                              901 Main Street, Suite 5500
                                              Dallas, Texas 75202-3767
                                              Telephone: 214/855-3000
                                              Telecopy: 214/855-1333

                                              Attorneys for Defendant
                                              Mark S. Henderson, M.D.


                                  Certificate of Service

The undersigned certifies that a copy of the foregoing instrument was served upon the
attorneys of record in the above cause in accordance with the Texas Rules of Civil Procedure
via electronic service on this 29th day of June , 2017.

        Attorneys for Plaintiff
        Jesse Quackenbush (jesseqlf@gmail.com)
        Quackenbush Law Firm
        801 South Fillmore, Suite 460
        Amarillo, TX 79101
        806/374-4024 (phone)
        806/352-0073 (fax)


                                                       /s/ Rodney H. Lawson
                                              Rodney H. Lawson

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DEFENDANT MARK S. HENDERSON, M.D.’S
ORIGINAL ANSWER AND REQUEST FOR DISCLOSURE                                            Page 7
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                                                                           District Clerk
                                                                           Gray County, Texas
                                                                           Reviewed By: O'Leen Bennett

                                       CAUSE NO. 38783

AMANDA OLESEN,                                   §           IN THE DISTRICT COURT
                                                 §
       Plaintiff,                                §
                                                 §
vs.                                              §
                                                 §           GRAY COUNTY, TEXAS
PRIME HEALTHCARE                                 §
FOUNDATION, INC. d/b/a                           §
PAMPA REGIONAL MEDICAL CENTER;                   §
and MARK S. HENDERSON, M.D.,                     §
                                                 §
       Defendants.                               §           223RD JUDICIAL DISTRICT


            DEFENDANT PRIME HEALTHCARE FOUNDATION, INC. D/B/A
            PAMPA REGIONAL MEDICAL CENTER’S ORIGINAL ANSWER
                      AND REQUEST FOR DISCLOSURE


TO THE HONORABLE COURT:

       Defendant Prime Healthcare Foundation, Inc. d/b/a Pampa Regional Medical Center

(“PRMC”) files this Original Answer and Request for Disclosure to Plaintiff’s First

Amended Petition as follows:

        1.     PRMC denies each and every, all and singular, the material allegations, factual

 recitations, theories, and opinions contained in Plaintiff’s First Amended Petition (or most

 current petition on file) and demands strict proof at the time of trial in accordance with the

 Texas Rules of Civil Procedure.

       2.      PRMC specifically denies that it was in any way negligent with respect to any

alleged duty owed to Plaintiff, or that any of its conduct proximately caused any of Plaintiff’s

alleged injuries. PRMC alleges that all treatment provided to Plaintiff by PRMC conformed

at all times and in all aspects to the applicable standard of care.



DEFENDANT PRIME HEALTHCARE FOUNDATION, INC. D/B/A PAMPA REGIONAL MEDICAL
CENTER’S ORIGINAL ANSWER AND REQUEST FOR DISCLOSURE -- Page 1
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       3.     Pleading affirmatively, PRMC alleges that Plaintiff’s claims are barred in

whole or in part to the extent any alleged injuries, damages, or liabilities complained of by

Plaintiff are the result, in whole or in part, of an unavoidable accident beyond the control of

PRMC, without any negligence on the part of PRMC, and are not the result of any act or

omission on the part of PRMC.

       4.     Pleading affirmatively, PRMC alleges that Plaintiff’s claims are barred in

whole or in part to the extent any injuries, damages, or liabilities complained of by Plaintiff

were solely proximately caused and/or proximately caused by new and independent

intervening causes not reasonably foreseeable by PRMC, which became the immediate and

efficient causes of Plaintiff’s alleged injuries and damages, and any acts or omissions alleged

by Plaintiff as to PRMC were wholly remote and not causative of Plaintiff’s alleged injuries

or damages.

       5.     Pleading affirmatively, PRMC alleges that Plaintiff’s claims are barred in

whole or in part to the extent any injuries, damages, or liabilities complained of by Plaintiff

were solely proximately caused and/or proximately caused by superseding and/or intervening

acts which disrupted the chain of causation and were wholly beyond the scope and/or control

of PRMC.

       6.     Pleading affirmatively and in the alternative, PRMC alleges any injuries,

damages, or liabilities complained of by Plaintiff were solely proximately caused and/or

proximately caused by the pre-existing injuries, diseases, or conditions of Plaintiff.

       7.     PRMC further pleads that Plaintiff’s claims are barred in whole or in part to

the extent that the contributory negligence and/or comparative negligence of Plaintiff



DEFENDANT PRIME HEALTHCARE FOUNDATION, INC. D/B/A PAMPA REGIONAL MEDICAL
CENTER’S ORIGINAL ANSWER AND REQUEST FOR DISCLOSURE -- Page 2
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proximately caused any actual or alleged injuries, damages, or liabilities complained of by

Plaintiff, in whole or in part.

       8.      Pleading affirmatively and in the alternative, PRMC alleges that Plaintiff’s

claims are barred in whole or in part to the extent any injuries, damages, or liabilities

complained of by Plaintiff were solely proximately caused and/or proximately caused by acts

or occurrences prior to and/or separate from Plaintiff’s care by PRMC, which were wholly

beyond the scope and/or control of PRMC and which were not caused by any act or omission

by PRMC.

       9.      Pleading affirmatively, PRMC alleges that Plaintiff’s claims are barred in

whole or in part to the extent any injuries, damages, or liabilities complained of by Plaintiff

were solely proximately caused and/or proximately caused in whole or in part by the acts

and/or omissions of parties that PRMC did not employ and over whom PRMC had no control

and/or right to control, including but not limited to the other defendants named in this

lawsuit.

       10.     PRMC specifically invokes and asserts all rights to contribution and/or

indemnity, as well as any other appropriate relief available, including but not limited to any

such rights against co-defendants and settling defendants, if any, under Chapters 32 and 33 of

the Texas Civil Practice and Remedies Code (the “Code”) (including without limitation

Sections 33.015 and 33.016), as well as any other applicable provision of statutory, common,

or other law applicable to this case.

       11.     Pleading affirmatively, if Plaintiff compromise or settle any claims and/or

causes of action against any other person or entity, PRMC hereby invokes and asserts the



DEFENDANT PRIME HEALTHCARE FOUNDATION, INC. D/B/A PAMPA REGIONAL MEDICAL
CENTER’S ORIGINAL ANSWER AND REQUEST FOR DISCLOSURE -- Page 3
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right and option granted to it to receive a credit, a percentage reduction, or any other

appropriate relief with respect to such settlement in accordance with Chapter 33 (specifically

without limitation Section 33.012) of the Code, as well as any other applicable provision of

statutory, common, or other law applicable to this case. This pleading does not constitute an

election. Such election, if required, will be made at an appropriate time.

       12.    PRMC pleads, preserves, invokes, and asserts the right to submit the

percentage of responsibility, if any, of any settling person or any responsible third party to

the trier of fact, including without limitation any other defendant named in any of Plaintiff’s

petitions who are dismissed by Plaintiff or the Court, or for whatever other reason are no

longer parties at the time of submission to the trier of fact, for determination under

Section 33.003 of the Code, as well as under any other applicable provision of statutory,

common, or other law. PRMC further reserves the right to add or designate any and all

responsible third parties as investigation and discovery reveals additional facts.

       13.    In addition and in the alternative, PRMC specifically pleads, preserves,

invokes, and asserts its rights under Section 33.004 of the Code, as well as any other

applicable provision of statutory, common, or other law applicable to this case, as to any

other defendants named in any of Plaintiff’s petitions who are dismissed by Plaintiff or the

Court prior to the time of submission to the trier of fact, and against any other person or party

who is or may be liable to Plaintiff or to any defendant for all or part of the damages claimed

against PRMC in this case. PRMC further reserves the right to add or designate any and all

responsible third parties as investigation and discovery reveals additional facts.




DEFENDANT PRIME HEALTHCARE FOUNDATION, INC. D/B/A PAMPA REGIONAL MEDICAL
CENTER’S ORIGINAL ANSWER AND REQUEST FOR DISCLOSURE -- Page 4
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       14.      Pleading affirmatively, PRMC pleads all defenses, procedures, and applicable

limitations of liability and damage provisions under Texas law, including without limitation

Chapter 74 (specifically without limitation Sections 74.301, 74.302, 74.303, and 74.501-

.507) of the Code and Chapter 18 of the Code, as well as any other applicable limitation of

liability and damage provision of statutory, common, or other law applicable to this case.

Accordingly, PRMC requests this Court to impose any and all limitations on any verdict that

might be rendered at the trial of this cause.

       15.      PRMC affirmatively invokes and asserts that the jury instructions contained in

Section 74.303(e)(1) and (2) of the Code should be included in the Court’s charge to the jury

in this case.

       16.      Pleading affirmatively, PRMC pleads the applicable limitations of, and/or bars

on, pre-judgment and post-judgment interest provisions in Texas Finance Code Chapters 304

and 604 and any other applicable provision of statutory, common, or other law applicable to

this case, and requests this Court to impose all applicable limitations or bars on any pre-

judgment or post-judgment interest that might be awarded at the trial of this case.

       17.      PRMC pleads, preserves, invokes, and asserts the right to limit Plaintiff’s

claims for economic damages in accordance with Section 41.0105 of the Code, which limits

Plaintiff’s recovery of medical or health care expenses to the amount of reasonable and

necessary expenses that were actually paid or incurred, and requests this Court to impose all

applicable limitations or bars on any such damages that might be awarded at the trial of this

case, including without limitation requiring Plaintiff to segregate all amounts not permitted

to be recovered under Section 41.0105 of the Code, which includes without limitation all



DEFENDANT PRIME HEALTHCARE FOUNDATION, INC. D/B/A PAMPA REGIONAL MEDICAL
CENTER’S ORIGINAL ANSWER AND REQUEST FOR DISCLOSURE -- Page 5
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amounts not paid or incurred and any amounts written off or reduced by or on behalf of any

healthcare provider. PRMC further pleads, preserves, invokes, and asserts the right to limit

Plaintiff’s claims for economic damages because of Plaintiff’s failure to substantiate claims

with required evidence or testimony pursuant to the Texas Rules of Civil Procedure and the

orders of this Court.

        18.    PRMC reserves the right to correct, amend, and supplement this answer.

                                    Request for Disclosure

       Pursuant to Rule 194 of the Texas Rules of Civil Procedure, Plaintiff is requested to

disclose, within 30 days of service of this request, the information or material described in

Rule 194.2.

       WHEREFORE, Defendant Prime Healthcare Foundation, Inc. d/b/a Pampa Regional

Medical Center prays that upon final hearing, judgment be entered that Plaintiff take nothing

and that PRMC recover its reasonable and necessary attorneys’ fees, Court costs, other

expenses, and such other and further relief to which it may show itself to be justly entitled.




DEFENDANT PRIME HEALTHCARE FOUNDATION, INC. D/B/A PAMPA REGIONAL MEDICAL
CENTER’S ORIGINAL ANSWER AND REQUEST FOR DISCLOSURE -- Page 6
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                                             Respectfully submitted,



                                                     /s/ Rodney H. Lawson
                                             RODNEY H. LAWSON
                                              Texas State Bar No. 12059700
                                              Email: rlawson@ccsb.com
                                             DEBRÁN L. O’NEIL
                                              Texas State Bar No. 24083497
                                              Email: doneil@ccsb.com
                                             CARRINGTON, COLEMAN, SLOMAN
                                              & BLUMENTHAL, L.L.P.
                                             901 Main Street, Suite 5500
                                             Dallas, Texas 75202-3767
                                             Telephone: 214/855-3000
                                             Telecopy: 214/855-1333

                                             Attorneys for Defendant Prime Healthcare
                                             Foundation, Inc. d/b/a Pampa Regional
                                             Medical Center


                                  Certificate of Service

The undersigned certifies that a copy of the foregoing instrument was served upon the
attorneys of record in the above cause in accordance with the Texas Rules of Civil Procedure
via electronic service on this 5th day of July , 2017.

        Attorneys for Plaintiff
        Jesse Quackenbush (jesseqlf@gmail.com)
        Quackenbush Law Firm
        801 South Fillmore, Suite 460
        Amarillo, TX 79101
        806/374-4024 (phone)
        806/352-0073 (fax)


                                                      /s/ Rodney H. Lawson
                                             Rodney H. Lawson

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DEFENDANT PRIME HEALTHCARE FOUNDATION, INC. D/B/A PAMPA REGIONAL MEDICAL
CENTER’S ORIGINAL ANSWER AND REQUEST FOR DISCLOSURE -- Page 7
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             EXHIBIT B-15
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                                              CAUSE NO. 38783

AMANDA OLESEN,                                     §         IN TilE 223m> DISTRICT COURT
         PLAINTIFF,                                §
                                                   §
vs.                                                §         IN ANOFOR
                                                   §
PRIME HEALTHCARE                                   §
FOUNDATION, INC. H/8/A PAMPA                       §
REGIONAL MEDICAL CENTER ANI>                       §
MARKS. HENOERSON, M.O.,                            §
         0EFENHANTS                                §         GRAY COUNTY, TEXAS

           NOTIC!i: OF SERVICE OF PLAINTIFF'S CHAJ>TER 74 EXPERT REPORT
                 AND CURRICULUM VITAE OF JEFF DURGIN, MD, FACS

        COMES NOW, Plaintiff Amanda Olesen in the above and numbered cause, has delivered

Plaintiffs Chapter 74 Expert Report and Cun-iculum Vitae of Jeff Durgin, MD, FACS, to each Defendant

on July 7, 2017 by facsimile: 214-855-1333, email: rlawson@ccsb.com and doneil@ccsb.com, and

Certified Mail Return Receipt Requested.



                                                         Respectfully submitted,
                                                         QUACKENBUSH LAW FIRM
                                                        . . ··7   /7
                                                       (M~ c:;/'--~_·-_·~·_···__
                                                         J{sse L. (julfckenbush
                                                         State Har No. 16421975
                                                         801 S. Fillmore, Suite 460
                                                         Amarillo, Texas 79101
                                                         Telephone: (806) 374-4024
                                                         Facsimile: (806) 352-0073
                                                         j C~§£!J!f@JID1lliJ.C(!!!I.
                                                         ATTORNEY FOR PLAINTIFF




Notice of Service of Plaintiff's CbaJlter 74 Ext>et·t ReJlort and
CmTicnlum Vitae of Jeff])urgin, Mn, FACS                                               J>age 1 of2
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                                     CERTIFICATE OF SERVICE

       This is to certify that a true and correct copy of the above foregoing Notice of Service of Plaintiff's
Chapter 74 Expert Report of Jeff Durgin, MD, FACS (7 pages) and Curriculum Vitae (6 pages) were sent
by Certified Mail Return Receipt Requested, fax and email on the 7111 day of July, 2017:

VIA CMRRR 7009 1680 0001 5097 7419:
FACSIMILE AND EMAIL
RODNEY H. LAWSON
RLA WSON@CCSB.COM
DEBR'AN L. O'NEIL
OONEIL@CCSB.COM
CARRINGTON, COLEMAN, SLOMAN & HLUEMENTHAL, L.L.J>.
901 MAIN STREKI', SUITE 5500
DALLAS, TEXAS 75202-3767
FACSIMILE: 214-855-1333
ATTORNEY I•'OR DEFENDANT PRIME HEALTHCARE FOUNDATION, INC.
0/B/ A PAMPA REGIONAL MEDICAL CENTER

VIA CMRRR 7009168000015097 7402:
FACSIMILE AND EMAIL
ROONEY H. LAWSON
RLA WSON@CCSB.COM
DEBR' AN L. O'NEIL
DONEIL@CCSB.COM
CARRINGTON, COLEMAN, SLOMAN & HLUEMENTHAL, L.L.J>.
901 MAIN STREET, SUITE 5500
DALLAS, TEXAS 75202-3767
FACSIMILE: 214-855-1333
ATTORNEY FOR I>EFENOANT DR. MARKS. HEN HERSON




Notice of Service of Plaintiff's Chapter 74 Expert Report and
Cuniculum Vitae of Jeff Durgin, Mn, FACS                                                  Page 2 of2
